     Case 1:22-cv-01696-VMC       Document 95-1       Filed 04/29/24       Page 1 of 78




April 29, 2024



Lauren Woodrick, Attorney at Law
Lee Clayton, Partner
Swift, Currie, McGhee & Hiers, LLP
1420 Peachtree St., NE, Suite 800
Atlanta, GA 30309


      Re:    Newton, et al. v. Wingate Management Company, LLC


Dear Ms. Woodrick and Mr. Clayton:

Please find attached my report in the above referenced matter. This report may be
supplemented as additional discovery is made available and other case activity is
completed.

In arriving at my opinions in this case, I adhered to the consensus-based, published, and
peer-reviewed Forensic Methodology (Appendix B) promulgated by the International
Association of Professional Security Consultants.


Respectfully submitted,




Karim H. Vellani, CPP, CSC




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       Case 1:22-cv-01696-VMC                    Document 95-1              Filed 04/29/24            Page 2 of 78
                                                     Newton, et al. v. Wingate Management Company, LLC


                                                  Table of Contents

QUALIFICATIONS .......................................................................................................... 3

MATERIALS RECEIVED ................................................................................................ 5

BACKGROUND .............................................................................................................. 8

CRIME PREVENTION .................................................................................................. 12
 Governance .............................................................................................................. 13
 Physical Security...................................................................................................... 19
 Personnel .................................................................................................................. 21

OPINIONS..................................................................................................................... 30

PUBLICATIONS AND PRESENTATIONS ................................................................... 32

TESTIMONIAL HISTORY ............................................................................................. 40

COMPENSATION ......................................................................................................... 47

APPENDIX A: Curriculum Vitae of Karim Vellani..................................................... 48

APPENDIX B: Forensic Methodology ....................................................................... 63




                                                                                                                     Page 2
     Case 1:22-cv-01696-VMC         Document 95-1       Filed 04/29/24    Page 3 of 78
                                       Newton, et al. v. Wingate Management Company, LLC


QUALIFICATIONS

Karim H. Vellani is the President of Threat Analysis Group, LLC, an independent security
consulting firm. Karim is Board Certified in Security Management (CPP), a Board-
Certified Security Consultant (CSC), and has over 29 years of security management,
crime analysis, and forensic security consulting experience. He has a bachelor’s degree
in Criminal Justice with a specialization in Law Enforcement and a master’s degree in
Criminal Justice Management. He is the author of three books, Applied Crime Analysis,
Strategic Security Management, Unraveled: An Evidence-Based Approach to
Understanding and Preventing Crime, and has contributed to a number of other security
related books and journals. Karim serves on various research teams conducting
evidence-based research on violent crime prevention, workplace violence, sex trafficking,
and use of force.

As an independent security management consultant, Karim has been retained by Fortune
500 companies and government agencies. He has extensive experience in risk
management and security force protection and provides consultation on a regular basis
at government, commercial, and residential facilities across the nation. Karim has worked
on projects ranging from data centers, hospitals and healthcare facilities, houses of
worship, manufacturing facilities, financial institutions, retail stores, shopping centers and
malls, hotels and motels, office buildings, and residential housing (including Section 8).

For 11 years, Karim was responsible for managing the quality control/assurance function
for United States Department of Homeland Security’s (DHS) protection force at federal
government buildings in 23 states including Mississippi, Alabama, West Virginia,
California, Montana, North Dakota, South Dakota, Wyoming, Utah, Nevada, North
Carolina, Tennessee, Arizona, Kentucky, Illinois, Washington, Idaho, Texas, Oklahoma,
Florida, South Carolina, Rhode Island, and Massachusetts.

Karim specializes in crime analysis and security risk assessment and mitigation. He
developed a crime analysis methodology that utilizes the Federal Bureau of
Investigation’s (FBI) Uniform Crime Report coding system and a proprietary software
application called CrimeAnalysisTM. The software allows end users to identify specific
threats, select appropriate countermeasures, and reduce their risk. The methodology
was originally published in Applied Crime Analysis and evolved in Unraveled: An
Evidence-Based Approach to Understanding and Preventing Crime. Since developing
the crime analysis methodology, Karim has assessed crime threats at thousands of
facilities. Karim has also developed a Security Risk Assessment Methodology for
Healthcare Facilities and Hospitals. In 2009, the International Association of Healthcare
Security and Safety (IAHSS) published its Security Risk Assessment Guideline, which
was authored by Karim at the request of IAHSS. In 2023, he authored the IAHSS
guideline on Human Trafficking Victim Identification and Response. Karim was also a
Technical Committee Member on the Risk Assessment Standard Development
Committee for the American Society for Industrial Security - International (ASIS).


                                                                                      Page 3
     Case 1:22-cv-01696-VMC       Document 95-1      Filed 04/29/24    Page 4 of 78
                                     Newton, et al. v. Wingate Management Company, LLC




Karim also provides forensic security consulting services to insurance companies and the
legal profession. In this work, Karim provides litigation support to attorney’s and serves
as an expert witness in security related lawsuits. As an Adjunct Professor at the
University of Houston - Downtown, Karim taught graduate courses in Security
Management and Risk Analysis for the College of Criminal Justice’s Security
Management Program. He has also trained Police and Security Officers in weapons and
use of deadly force and profiling and assisted in the development of maritime security
training curriculum compliant with ISPS Code and the United States Coast Guard under
the Maritime Transportation Security Act. Karim instructs frequently for the International
Association of Professional Security Consultants and ASIS-International.

Karim is a member of the International Association of Professional Security Consultants
(IAPSC), ASIS-International, the American Society of Criminology (ASC), American
Society of Evidence-Based Policing (ASEBP), the International Association of Crime
Analysts (IACA), the International Association of Chiefs of Police (IACP), and the
International Association for Healthcare Security & Safety (IAHSS). In the past, Karim
served as President of the IAPSC, Director for the IAHSS Foundation and Chair of the
Evidence-Based Research Committee. Currently, Karim serves on the IAPSC Forensic
Committee and chairs the IAPSC’s Evidence-Based Security Practices Committee.




                                                                                  Page 4
     Case 1:22-cv-01696-VMC         Document 95-1    Filed 04/29/24   Page 5 of 78
                                      Newton, et al. v. Wingate Management Company, LLC


MATERIALS RECEIVED

I reviewed the materials listed below:

1. Plaintiffs’ Complaints

2. Defendants’ Answers

3. Various Discovery (Rogs, RFP, RFA, etc.)

4. 6-30-20 Shooting Screenshots

5. 6-30-20 Shooting Video and Audio

6. Atlanta Police Department Report No. 20-182-0072-00

7. Defendant Doc Productions, Video, Audio

8. Plaintiffs Doc Productions

9. ORR

10. Police Reports Received by Def in Real Time

11. Bedford Pines Addresses

12. Bedford Pines Map

13. Belknap Timeline of Shootings

14. Deposition of Dottie Davis (Expert)

15. Deposition of Keiontay Davis

16. Deposition of Kenneth Long

17. Deposition of DeMario Newton

18. Deposition of Ricky Phillips

19. Deposition of Rod Teachey

20. 30(b)(6) Depositions of Cynthia Bianco

21. Deposition of Carishma “Kelly” Young

22. Deposition of Jim Tate, Plaza Security


                                                                               Page 5
     Case 1:22-cv-01696-VMC           Document 95-1    Filed 04/29/24   Page 6 of 78
                                        Newton, et al. v. Wingate Management Company, LLC


23. Deposition of Antoinnette Mitchell

24. Deposition of Bionca Woods

25. Deposition of Cathy Chatman

26. Deposition of Demetrius McNeal

27. Deposition of Donetta Coleman

28. Deposition of Jazzmine Mangham

29. Deposition of Kiarra Roland

30. Deposition of Marcus Chatman

31. Deposition of Naporro Roland

32. Depositions of Cynthia Bianco

33. Deposition of Alanna Robinson

34. Deposition of Devin Bean

35. Deposition of Santeba Seaborn

36. Deposition of Stephanie Lewis

37. Deposition of Tashika Boyd

38. Deposition of Tequilla Phillips

39. Deposition of Teshana Boyd

40. Deposition of Tiarra Shaneka Grigg

41. Deposition of Tyrius Walker

42. Deposition of Wesley Journey

43. Deposition of Douglas Little

44. Deposition of Justin Jackson

45. Deposition of Renato Anaya

46. Deposition of Roland Claud


                                                                                 Page 6
     Case 1:22-cv-01696-VMC        Document 95-1       Filed 04/29/24    Page 7 of 78
                                      Newton, et al. v. Wingate Management Company, LLC


47. Deposition of Ryan Jones

48. Social Media

49. State of GA vs. Kenneth Long NOI and Exhibits

50. HUD Lease used by Bedford Pines

51. Tenant House Rules

52. Bedford Pines Tenant Selection Plan

53. Property Activity Coordinator Job Description

54. Photographs of Signs installed on the property

55. Expert Report of Detective Mark A. Belknap

On April 25, 2024, I interviewed Kelly Young, Wingate’s Regional Vice President over
Bedford Pines and Sophia Hawk, current Bedford Pines Property Manager who worked
at the property as an Administrative Assistant at the time of the Subject Incident. On April
26, 2024, I interviewed Carol Cooley, Property Activity Coordinator at Bedford Pines.




                                                                                    Page 7
      Case 1:22-cv-01696-VMC              Document 95-1        Filed 04/29/24   Page 8 of 78
                                            Newton, et al. v. Wingate Management Company, LLC


BACKGROUND

The Village of Bedford Pines Apartments (hereinafter referred to as Bedford Pines) is a
residential community in Atlanta, Georgia. Bedford Pines is a Section 8 community
classified as Scattered Site Housing,1 that is, the community is a series of individual
buildings divided into six phases with public streets and other properties between the
phases and buildings. Individual buildings have been demolished and rebuilt. As a result,
the number of units has ranged from approximately 434 to 733 and approximately 557
units in 2020. The occupancy rate in 2020 was approximately 75%. Parking is available
in small parking lots or on public streets throughout the area.2 3 4 5

Bedford Pines is managed by Wingate Management Company, LLC (hereinafter referred
to as Wingate). Wingate had managed the property for over 20 years at the time of the
Subject Incident. The Leasing Office was located at 496 Boulevard and was open
Mondays, Tuesdays, Thursdays, and Fridays from 0800-1700 hours. Wingate staff
included a Property Manager, Assistant Property Manager, Leasing Manager, Occupancy
Specialist, Receptionist, Business Manager, Resident Relations Manager, Property
Activity Coordinator, 17 maintenance workers, and four groundskeepers. A Regional Vice
President (Kelly Young) oversaw Bedford Pines. Ms. Young is a Certified Apartment
Manager (CAM)6 and a Certified Apartment Portfolio Supervisor (CAPS). The Occupancy
Specialist (Erica Resby) lived on the property at the time of the Subject Incident. 7 8 9 In
addition, Wingate contracted with a security consulting firm (Plaza Security) to advise
them on security for Beford Pines.

The Subject Incident is a murder and aggravated assault which occurred on Tuesday,
June 30, 2020 at approximately 0107 hours (1:07am). The victims are identified as
Marcus Sims (deceased), Ricky Phillips, Keiontay Davis, Kenneth Long, and Demario
Newton. The victims were shot on the exterior of the property next to a Bedford Pines
building. The shots were fired from two vehicles that were driving on a public street.
Return fire was shot from a person or persons at or near the Bedford Pines building
toward the suspect vehicles. Plaintiff Keiontay Davis was one of the people who returned

1 https://www.huduser.gov/portal/publications/pubasst/scatter.html

2 Young and Hawk Interview, 4/25/24

3 Deposition of Cynthia Bianco 30(b)(6)

4 Deposition of Renato Anaya

5 Deposition of Douglas Little

6 https://www.naahq.org/cam

7 https://naahq.org/caps

8 Young and Hawk Interview, 4/25/24

9 Cooley Interview, 4/26/24




                                                                                         Page 8
      Case 1:22-cv-01696-VMC             Document 95-1          Filed 04/29/24       Page 9 of 78
                                            Newton, et al. v. Wingate Management Company, LLC


fire. All five men were known by APD to be associated with the Rollin’ 60’s NHC criminal
street gang.10 11

Empirical research has identified gang affiliation as a risky behavior. Criminology studies
provide strong evidence that gang members participate in risky behaviors at a
substantially higher rate than non-gang members. Gang members also commit violent
offenses, such as aggravated assault, sexual assault, intimate partner violence, and
robbery, more frequently. Gang affiliation has been shown to increase an individual’s risk
of victimization. Gang affiliation increased the odds of serious injuries from fighting by
284%.12 13 14

Routine Activity Theory is useful for explaining the basic components of crime. It posits
that for a crime to occur, three necessary elements must converge in time: a motivated
offender, a target/victim lacking guardianship, and a Place.15 This is illustrated via the
inner triangle of the Problem Analysis Triangle below.




10 Surveillance Video

11 Expert Report of Detective Mark A. Belknap

12 Gover, A. R., Jennings, W. G., & Tewksbury, R. (2009). Adolescent male and female gang members’

experiences with violent victimization, dating violence, and sexual assault. American Journal of Criminal
Justice, 34(1-2), 103–115
13 Curry, G., & Spergel, I. (1992). Gang involvement and delinquency among Hispanic and African-

American adolescent males. Journal of Research in Crime and Delinquency, 29(3), 273–291.; Battin, S.
R., Hill, K. G., Abbott, R. D., Catalano, R. F., & Hawkins, J. (1998). The contribution of gang membership
to Delinquency Beyond Delinquent Friends*. Criminology, 36(1), 93–116 Hill, K. G., Howell, J. C.,
Hawkins, J., & Battin-Pearson, S. R. (1999). Childhood risk factors for adolescent gang membership:
Results from the Seattle Social Development Project. Journal of Research in Crime and Delinquency,
36(3), 300–322.; Curry, G. D. (2000). Self-reported gang involvement and officially recorded delinquency.
Criminology, 38(4), 1253–1274.
14 Army, Christine, & Vellani, Karim H. (2023). Risky Behaviors and Violent Victimization (EBSP-23-01).

Evidence-Based Security Practices, International Association of Professional Security Consultants..
15 Cohen, L. E., & Felson, M. (1979). Social Change and Crime Rate Trends: A Routine Activity

Approach. American Sociological Review, 44(4), 588–608. https://doi.org/10.2307/2094589



                                                                                                  Page 9
     Case 1:22-cv-01696-VMC             Document 95-1         Filed 04/29/24       Page 10 of 78
                                            Newton, et al. v. Wingate Management Company, LLC




While the inner triangle shows the necessary components that need to converge in time
for a crime to occur, the outer triangle shows Controllers. Controllers can influence crime
prevention. Controllers may have a direct impact on the crime, but more often have an
indirect role in crime. There are three types of Controllers: Handlers, Guardians, and
Place Managers. Place Managers (e.g. homeowner, property manager, etc.) control
Places. Handlers (e.g. parents, probation officers, society, etc.) influence Offenders.
Guardians (e.g. oneself, bystanders, neighbors, etc.) protect Victims. Most guardianship
is self-guardianship, that is, people taking action to protect themselves.16 Engaging in
risky behaviors is not in furtherance of self-guardianship.

Based on all available evidence, the Subject Incident can be classified as gang-related,
Targeted Violence and part of a series of Violent Retaliatory Disputes. Targeted Violence
is an act of aggression or harm deliberately directed towards specific individuals or
groups. This type of targeted violence may also be referred to as Victim-Targeted
Violence. Targeted Violence is difficult to anticipate based on the condition of a property
because it is the product of preexisting animosities. A Violent Retaliatory Dispute is an
interaction involving conflict over a period of time between two or more individuals and/or
people associated with them marked by two or more events involving confrontation or




16 Sampson, R., Eck, J. & Dunham, J. Super controllers and crime prevention: A routine activity

explanation of crime prevention success and failure. Secur J 23, 37–51 (2010).
https://doi.org/10.1057/sj.2009.17



                                                                                                  Page 10
     Case 1:22-cv-01696-VMC               Document 95-1           Filed 04/29/24        Page 11 of 78
                                              Newton, et al. v. Wingate Management Company, LLC


intimidation in which at least some of those events involve violent acts or credible threats
of violence.17 18 19 20 21 22 23 24 25 26 27




17 Army, Christine, & Vellani, Karim H. (2021). Violent Crime Typology and Continuum. CrimRxiv.

https://doi.org/10.21428/cb6ab371.71ec923d
18 Army, Christine, & Vellani, Karim H. (2023). Risky Behaviors and Violent Victimization (EBSP-23-01).

Evidence-Based Security Practices, International Association of Professional Security Consultants..
19 Expert Report of Detective Mark A. Belknap

20 Klofas, J., Altheimer, I., & Petitti, N. (2019). Retaliatory violent disputes. Problem-Oriented Guides for

Police, Problem-Specific Guide Series, No. 74.
21 Deposition of Tequilla Phillips

22 Deposition of Teshana Boyd

23 Deposition of Tiarra Shaneka Grigg

24 Deposition of Santeba Seaborn

25 Deposition of Kiarra Roland

26 Deposition of Jim Tate

27 Gotham, Kevin Fox and Daniel Bruce Kennedy (2019). Practicing Forensic Criminology. Academic

Press.



                                                                                                     Page 11
     Case 1:22-cv-01696-VMC              Document 95-1          Filed 04/29/24        Page 12 of 78
                                             Newton, et al. v. Wingate Management Company, LLC


CRIME PREVENTION

Evidence-based security is the use of research, data, and analysis to inform security
decisions. Research that addresses the efficacy of crime prevention measures is more
useful than studies that address prevalence of those measures. Efficacy is the ability of
crime prevention measures to produce the desired result (i.e., crime reduction).28
Prevalence, on the other hand, refers to the ubiquity of an intervention. “Even with a very
high relative risk of crime, it is possible for security measures to be adequate and
reasonable.”29 That is, not all crime can be prevented.

In the security field, there are three general types of countermeasures which are taken to
mitigate security risks: Governance (policies, procedures, training, protocols), physical
security measures, and security personnel. Some places are able to mitigate risk using
governance only. Others utilize both governance and physical security. Some utilize all
three elements.




                                               Governance




                                                Security
                                                Program

                           Security                                   Physical
                          Personnel                                   Security




The security program at Beford Pines used all three elements.



28 Tompson , L., Belur, J., Thornton, A., Bowers, K. J., Johnson, S. D., Sidebottom, A., Tilley, N. &

Laycock, G. (2020). How strong is the evidence base for crime reduction professionals? Justice
Evaluation Journal, 4(1), 68-,97. https://doi.org/10.1080/24751979.2020.1818275
29 Sherman, Lawrence W. (1989). Violent Stranger Crime at a Large Hotel: A Case Study in Risk

Assessment. Security Journal 1:40-46.



                                                                                                  Page 12
     Case 1:22-cv-01696-VMC                Document 95-1   Filed 04/29/24   Page 13 of 78
                                             Newton, et al. v. Wingate Management Company, LLC


Governance
Bedford Pines documented security incidents via an online portal called RMIS. They
documented personal injury and property damage. The reports were reviewed by the
Property Manager and Regional Vice President. The security consulting firm, Plaza
Security, also used an internal reporting system and would email reports to Wingate. In
addition, the Atlanta Police Department (APD) sent Bedford Pines management weekly
reports of crime on and around the property. These are good practices.30 31

Wingate staff testified that a formal security risk assessment had not been completed for
Bedford Pines. However, informal security risk assessments were completed which
resulted in a written security plan and the ongoing retention of a security consulting firm.
Wingate staff also met with APD leaders and the Atlanta Police Foundation on a
consistent basis to address crime issues at and near Bedford Pines. Wingate staff
provided video surveillance recordings to APD upon request. Similarly, Wingate provided
the Bedford Pines rent roll upon APD request, though a subpoena was required for the
rent roll.32 33 34 The security program, as documented in this report and the evidence in
this matter, clearly demonstrate that a security risk assessment was conducted and re-
evaluated on an ongoing basis.

Bedford Pines used a HUD model lease. The shortest lease term was one year.
Subletting was prohibited. “House Rules” included security provisions and were part of
the lease. Residents were required to acknowledge and sign the House Rules. Security
provisions within the House Rules addressed the following issues:

    ▪   Guest policy
    ▪   Communications
    ▪   Key control
    ▪   Access control
    ▪   Noise violations
    ▪   Parking
    ▪   Abandoned/Inoperable vehicles
    ▪   Consumption of alcohol in common areas
    ▪   Loitering




30 Deposition of Carishma “Kelly” Young

31 Young and Hawk Interview, 4/25/24

32 Young and Hawk Interview, 4/25/24

33 Deposition of Cynthia Bianco 30(b)(6)

34 Deposition of Carishma “Kelly” Young




                                                                                     Page 13
     Case 1:22-cv-01696-VMC            Document 95-1     Filed 04/29/24     Page 14 of 78
                                         Newton, et al. v. Wingate Management Company, LLC


    ▪   Lease violations35 36 37

A potential security issue in rental housing is leasing units to people with criminal
backgrounds. Wingate addressed this via criminal background investigations of
prospective residents and a criminal background investigation conducted at lease
renewal. This process is outlined in the Bedford Pines Tenant Selection Plan which was
approved by HUD38 39 and states the following:

    (1) Criminal Activity: Management has established a policy to reject all applicants
        evicted for drug related criminal activity. The activities that will be grounds for
        rejection of an application are as follows:
            a. Any conviction that involved injury to a person or property.

            b. Any conviction for the sale, distribution or manufacture of any controlled or
               illegal substance

            c. Any current illegal user, or addict of a controlled or illegal substance.

            d. Any act which results in the person’s tenancy constituting a threat to the
               health or safety of other individuals, result in substantial physical damage
               to the property of others, or interfere with the peaceful and quiet enjoyment
               of the premises.

            e. Any conviction for any sexual offense.

            f. Any conviction that involved bodily harm to another person.

            g. Eviction for drug related criminal activity: If the applicant or any household
               member has been evicted from federally assisted housing for drug related
               criminal activity in the past three (3) years, the application will be rejected.

            h. Alcohol Abuse: If a determination is made that the applicant or any
               household member’s abuse, or pattern of abuse, of alcohol interferes with
               the health, safety or right to peaceful enjoyment of the premises by other
               residents, the application will be rejected.



35 Young and Hawk Interview, 4/25/24

36 HUD Model Lease

37 Bedford Pines House Rules

38 Young and Hawk Interview, 4/25/24

39 Tenant Selection Plan




                                                                                      Page 14
Case 1:22-cv-01696-VMC       Document 95-1       Filed 04/29/24    Page 15 of 78
                                 Newton, et al. v. Wingate Management Company, LLC


    i.   Illegal Drug Use: If the Applicant or any household member is currently
         engaged in illegal use of a drug or shows a pattern of illegal use that may
         interfere with the health, safety, or right to a peaceful enjoyment by other
         residents, the application will be rejected

    j.   Sex Offenders: If an applicant or any household member has a conviction
         for any sexual offense, the application will be rejected. If the applicant or
         any household member is subject to a lifetime registration requirement
         under a State sex offender registration program, the application will be
         rejected.

    k. Any conviction which involved bodily harm, the application will be rejected.

    l.   Alcohol Abuse: If a determination is made that the applicant or any
         household member’s abuse, or pattern of abuse, of alcohol interferes with
         the health, safety or right to peaceful enjoyment of the premises by other
         residents, the application will be rejected

    m. Other criminal activity that would threaten the health or safety of the
       Housing Authority or Owner or any site employees, contractor, sub-
       contractor or agent of the Housing Authority who is involved in the housing
       operations.

    n. Any applicant and/or household member(s) with a felony arrest, a
       prostitution arrest or any drug related arrests convictions would be denied
       housing.

    o. We determine that:
         1) Any household members that are currently engaged in illegal use of a
            drug, or
         2) We have cause to believe that a household member’s illegal use or a
            pattern of illegal use of a drug may interfere with the health, safety or
            right to peaceful enjoyment of the premises by other residents.
    p. Management reserves the right to require criminal background check at
       each recertification. Management will do criminal background checks at
       recertifications and if in receipt of credible and verifiable information
       regarding criminal activity, your lease will be terminated.
    q. Management reserves the right to conduct background checks at each
       recertification to determine if tenants or any member of the tenant’s
       household, including juveniles, are subject to a Lifetime State Sex Offender
       Registration program in any state. If screening reveals that the tenant or a



                                                                             Page 15
     Case 1:22-cv-01696-VMC               Document 95-1   Filed 04/29/24   Page 16 of 78
                                            Newton, et al. v. Wingate Management Company, LLC


                member of the tenant’s household is subject to a Lifetime Sex Offender
                Registration requirement, the tenant’s lease will be terminated immediately.

            r. Management will take mitigating circumstances into consideration
               when reviewing derogatory information. Where management “may
               deny” admission to a household on a criminal conviction or pending
               criminal change, management will conduct an individual assessment
               of the criminal record and its impact on the household’s suitability for
               admission. The individual assessment will include consideration of
               the following factors: (1) the seriousness of the criminal offense; (2)
               the relationship between the criminal offense and the safety and
               security of residents, staff, or property; (3) the length of time since the
               offense, with particular weight being given to significant periods of
               good behavior; (4) the age of the household member at the time of the
               offense; (5) the number and nature of any other criminal convictions;
               (6) evidence of rehabilitation, such as employment, participation in a
               job training program, education, participation in a drug or alcohol
               treatment program, or worker, or community leader; and (7) tenancy
               supports or other risk mitigation services the applicant will be
               receiving during tenancy. The applicant has the opportunity to dispute
               the accuracy and relevance of the information obtained from any law
               enforcement agency.

Trespassing on Bedford Pines property was addressed by Atlanta Police Officers. Police
Officers issued trespass citations on the property. Police Officers provided documentation
to Wingate. Wingate stored the trespass citations in a binder and shared this information
with Bedford Pines staff and the security team. Loitering was prohibited on Bedford Pines
property by way of a lease provision and signage posted on the property. In response to
loitering, Bedford Pines staff and/or the security team would disperse the loiterers.
Residents were discouraged from “hanging out” outside the residential units for long
periods of time. Repeat behavior was considered grounds for eviction. Throwing a party
would also be a lease violation. If there was a subject selling food and drinks out of truck
on the premises, and people came to purchase the food and drinks and were “hanging
out,” that would be considered loitering and/or trespassing.40 41 42

Residents were required to have parking stickers on vehicles. Guests parked on the
public streets throughout the area. Bedford Pines staff and/or the security team enforced
the parking sticker requirement.43

40 Deposition of Carishma “Kelly” Young

41 Young and Hawk Interview, 4/25/24

42 Deposition of Cynthia Bianco

43 Young and Hawk Interview, 4/25/24




                                                                                    Page 16
     Case 1:22-cv-01696-VMC              Document 95-1    Filed 04/29/24   Page 17 of 78
                                            Newton, et al. v. Wingate Management Company, LLC




Unauthorized residents were prohibited by lease. Bedford Pines endeavored to identify
unauthorized residents by way of unit inspections and maintenance requests, reports
from other residents, observations while walking the property, and reports provided by
Police Officers. If a resident had an unauthorized resident, Bedford Pines issued a lease
violation. Three violations lead to a lease termination.44

Wingate created a Property Activity Coordinator position in March or April 2020. The
purpose of this position is to manage many of the operational security measures
discussed in this section of the report. Specifically, the Property Activity Coordinator is a
liaison between management, residents, security and other third parties to ensure that
the property’s policies, procedures, and lease terms are followed.45 According to the Job
Description, the primary responsibilities of the Property Activity Coordinator position were
to:

    ▪   Oversee all resident activity throughout assigned portfolio
    ▪   Walk residential units and common areas
    ▪   Process lease terminations
    ▪   Conduct grievance hearings
    ▪   Hold building meetings
    ▪   Coordinate and work closely with Security Officers of the property
    ▪   Maintain records of all criminal activity/police reports
    ▪   Maintain records of any criminal trespassing
    ▪   Obtain video surveillance when requested
    ▪   Appear in court as needed
    ▪   Maintain positive relationships with residents to ensure that communication
        between residents and community representatives is open and effective

In conjunction with these responsibilities, the Property Activity Coordinator’s security-
related tasks included ensuring that residents followed house rules (e.g. unauthorized
residents, illegal activity, etc.) by way of inspections of residential units and interior
common areas. Evidence of criminal or drug activity resulted in an immediate lease
termination. Non-criminal issues (e.g. unauthorized residents) were managed via lease
violations with three lease violations resulting in a lease termination. Additionally, the
Property Activity Coordinator hosted Building Meetings with residents to discuss lease
provisions (e.g. guest policy, unauthorized residents), house rules, and security issues.
The meetings occurred in 2020 but occurred more frequently starting in 2021 (after the
Subject Incident). The Property Activity Coordinator also worked closely with the security
team (Plaza Security and APD) to ensure that APD was on-site when scheduled. The
Property Activity Coordinator provided APD with information to assist them in focusing

44 Young and Hawk Interview, 4/25/24

45 Property Activity Coordinator Job Description




                                                                                    Page 17
     Case 1:22-cv-01696-VMC              Document 95-1         Filed 04/29/24       Page 18 of 78
                                            Newton, et al. v. Wingate Management Company, LLC


their efforts. As described, this part of the role is similar to what crime and intelligence
analysts do for police departments. When used by police departments (e.g. New York
Police Department’s CompStat program), this strategy has proven to be effective in
preventing crime. Further, the Property Activity Coordinator maintained the data provided
by APD and reviewed police reports to determine if a resident was involved. If a resident
was involved, as indicated by the police report, a lease violation or termination was
issued. The Property Activity Coordinator also undertook efforts to maintain and review
the criminal trespass records to determine if a trespasser went into a unit. When this
occurred, the resident was issued a lease violation.46 47 The implementation of a Property
Activity Coordinator with these duties exceeds the standard of care and practices of the
residential housing industry.

Bedford Pines provided social service programs for residents via a non-profit called
Operation Peace. Social service programs are in furtherance of the social dimension of
Crime Prevention Through Environmental Design (CPTED). Plaza Security had a hotline
for residents to report crimes and concerns via phone or text. 48 49 50 The hotline is a good
practice and in furtherance of Collective Efficacy. The use of social service programs and
a hotline exceeds the standard of care and practices of the residential housing industry.
Further, Bedford Pines encouraged residents and the residents neighboring properties to
engage in Collective Efficacy, a crime prevention strategy that has proven to be effective
at reducing crime.51 52 53 54 As explained by Plaza Security’s Jim Tate:

        …we'd spend time visiting the other residents within the community whose
        properties are -- abut Bedford Pines because early on one of the big hurdles
        we had was the community at large was very anti-Bedford Pines, and we -
        - because they didn't know what -- they had no information. So our -- part
        of our job would be to go visit with them and say, Hey, tell me about what
        you see, you know. And then we'd explain to them what steps are being
        taken and what the plan moving forward is and kind of develop that
        relationship and encourage them to, you know, help be part of the solution.


46 Cooley Interview, 4/26/24

47 Young and Hawk Interview, 4/25/24

48 Young and Hawk Interview, 4/25/24

49 Deposition of Jim Tate

50 Deposition of Renato Anaya

51 Lanfear, C. C. (2022). Collective efficacy and the built environment. Criminology, 60, 370–396.

https://doi.org/10.1111/1745-9125.12304
52 Cooley Interview, 4/26/24

53 Young and Hawk Interview, 4/25/24

54 Deposition of Ryan Jones




                                                                                                Page 18
     Case 1:22-cv-01696-VMC                Document 95-1   Filed 04/29/24   Page 19 of 78
                                             Newton, et al. v. Wingate Management Company, LLC


        If you see something, speak up, say something. We want this to be a
        community effort.

        Well, because as part of our efforts to reach out to our neighboring
        communities, one of the things that we offered them to do was to sign a --
        basically a power of attorney which gave us the ability to issue criminal
        trespass on their property on their behalf. It prevented them from going into
        a full -- having to pay for a full security team.55


Physical Security
Signs were installed on Bedford Pines property to prohibit loitering and trespassing.
Other signs installed on the property stated that video surveillance was in use and that
parking permits were required. This is a good practice as it communicates risk to would-
be offenders and also aids Police Officers in issuing criminal trespass citations.56 57 58 59

Bedford Pines was equipped with video surveillance. The cameras were not monitored in
real-time by dedicated personnel, but cameras could be monitored by staff as needed.
Some cameras could be monitored by the Atlanta Police Department. Video surveillance
was retained for 30 days.60 61 62 63 64

Exterior lighting on the Bedford Pines was upgraded to LED upon Plaza Security’s
recommendation. Much of the LED upgrade was accomplished in 2019, prior to the
Subject Incident. Lighting was controlled by photocells. Lighting inspections were
conducted at least once per month to ensure it was functional. Work orders were written




55 Deposition of Jim Tate

56 Photographs of Signs installed on the property

57 Deposition of Carishma “Kelly” Young

58 Young and Hawk Interview, 4/25/24

59 Deposition of Cynthia Bianco

60 Deposition of Carishma “Kelly” Young

61 Video Surveillance (Subject Incident)

62 Young and Hawk Interview, 4/25/24

63 Deposition of Cynthia Bianco

64 Deposition of Jim Tate




                                                                                     Page 19
     Case 1:22-cv-01696-VMC               Document 95-1   Filed 04/29/24   Page 20 of 78
                                            Newton, et al. v. Wingate Management Company, LLC


for inoperable lights controlled by Wingate (wall packs). Light poles were controlled by
Georgia Power and inoperable ones were reported to Georgia Power.65 66 67

Controlling access by way of fences and gates at Bedford Pines would be challenging
given the fact that the property was spread out (scattered) throughout a community with
public streets and other properties. Cynthia Bianco, Senior Vice President at Wingate,
sent two letters and had a follow-up conversation with a City of Atlanta representative
who was the Director of Parks. She asked him to close nearby Peace Park from dawn to
dusk. Bianco had also asked the City to implement a no-parking policy on Parkway, so
cars couldn’t be parked there and hanging out.68 69 70 71

Evidence-based research has shown that closing public streets is effective against violent
crime, including drive-by shootings. Eight studies addressing violence and public street
closures, found them to be effective, including:

1. Clarke, R. V. G. Closing Streets and Alleys to Reduce Crime Should You Go down
   This Road? [Updated ed.]. Washington, D.C: U.S. Dept. of Justice, Office of
   Community Oriented Policing Services, 2004.

2. Dayton Office of Management and Budget (1994). Evaluation of the Five Oaks
   Neighborhood Stabilization Plan. Dayton, Ohio: City of Dayton.

3. Vernon, R.L. and J.R. Lasley (1992). Police/Citizen Partnerships in the Inner City. FBI
   Law Enforcement Bulletin 61(5):18-22.

4. Lasley, J. (1998). Designing Out Gang Homicides and Street Assaults. Washington,
   D.C.: U.S. National Institute of Justice.

5. Zavoski, R., G. Lapidus, T. Lerer, G. Burke, and L. Banco (1999). Evaluating the
   Impact of a Street Barrier on Urban Crime. Injury Prevention 5(1):6568.

6. Markoe, L. (2000). Barricades Are Unpopular, But Crime Rate Falls. Charlotte-
   Observer, Oct. 14, 1B, 4B.



65 Deposition of Carishma “Kelly” Young

66 Young and Hawk Interview, 4/25/24

67 Deposition of Jim Tate

68 Deposition of Cynthia Bianco

69 Deposition of Rod Teachey

70 Google Earth

71 Young and Hawk Interview, 4/25/24




                                                                                    Page 20
     Case 1:22-cv-01696-VMC              Document 95-1         Filed 04/29/24       Page 21 of 78
                                             Newton, et al. v. Wingate Management Company, LLC


7. Wagner, A. (1997). A Study of Traffic Pattern Modifications in an Urban Crime
   Prevention Program. Journal of Criminal Justice 25(1):1930.

8. Atlas, R., and W. LeBlanc (1994). The Impact on Crime of Street Closures and
   Barricades: A Florida Case Study. Security Journal 5(3):140145.

In 2017, the Cincinnati Police Department won the Herman Goldstein Award for their
project on Place-based Investigations of Violent Offender Territories (PIVOT). This project
included street closures.72 It is likely that the crime risk at Bedford Pines could have been
reduced if the City of Atlanta closed some of the public streets around Bedford Pines and
engaged in a more comprehensive strategy for managing violent offenders.

Residential units at Bedford Pines were equipped with keyed deadbolts, handle locks,
and door viewers (peepholes). Windows were equipped with locks. Secondary window
locks were also installed on some unit windows based on the design of the window.
Residents were authorized to install intrusion detection (burglar) systems. Vacant
apartment units are inspected for unauthorized access on at least a weekly basis, but
often more frequently because maintenance staff were preparing the units for the next
resident.73 The physical security of Bedford Pines residential units met the standard of
care of the residential housing industry.

Personnel
Bedford Pines used a hybrid security personnel program. The hybrid program included a
Property Activity Coordinator, a contracted security consulting firm (Plaza Security), and
contracted off-duty Atlanta Police Department (APD) Officers (collectively referred to as
the security team). As the contracted security consulting firm, Plaza Security made
recommendations to Wingate. Plaza Security recommended against the use of unarmed
Security Officers at Bedford Pines. Plaza Security also recommended against the use of
armed Security Officers at Bedford Pines. As a result, Wingate did not use Security
Officers except in short term situations. Plaza Security recommended to Wingate that
only off-duty Police Officers should work at Bedford Pines. Further, Plaza Security
provided input to Wingate on other aspects of the security program at Bedford Pines. As
a result, Wingate provided the security team with a security office, GPS radios to track
Officer movements on the property and a vehicle that resembled a police car (2016 Ford
Taurus). The security cameras could be accessed from this location. Police Officers had
a take-home patrol vehicle which were sometimes parked on the property. APD Officer
Renato Anaya testified that believes the presence of patrol vehicles at the location is a




72 Cincinnati Police Department (2017). Place-based Investigations of Violent Offender Territories.

https://popcenter.asu.edu/sites/default/files/17-15.pdf
73 Young and Hawk Interview, 4/25/24




                                                                                                Page 21
     Case 1:22-cv-01696-VMC               Document 95-1   Filed 04/29/24   Page 22 of 78
                                            Newton, et al. v. Wingate Management Company, LLC


deterrent to crime. Wingate also offered APD space for a police precinct on the property,
but APD did not accept the offer.74 75 76 77 78 79

Wingate had ongoing communications with APD regarding activities in the area and
sought APD’s recommendations. Wingate often asked APD to do more, which at one
point led to APD parking a marked patrol vehicle near 633 Parkway. Rod Teachey, former
Senior VP and Chief Development Officer at Wingate testified that sometime after
January of 2019, he developed a color-coded map to show the Atlanta Police Foundation
to discuss how they could deploy more on-duty Police Officer patrols around specific
areas of the premises. This was confirmed by Cynthia Bianco, Senior VP at Wingate who
testified that in 2019, Rod Teachey prepared a map of Bedford Pines to share with the
Atlanta Police Foundation, for purposes of requesting the PD to help mitigate crime in the
area.80 81 82

Officer Anaya testified that off-duty Police Officers were at Bedford Pines 80 hours per
week. Shifts are typically in four-hour blocks. There were one to two off-duty Police
Officers on duty at a time, depending on availability. APD tried to have two Police Officers
at busier times. Police Officers patrolled the property, checked for unsecured door,
inspected lighting, addressed trespassers, and looked for suspicious activity. Patrol was
conducted mostly by vehicle. Some Police Officers patrolled in their marked patrol
vehicles, while others used the 2016 Ford Taurus owned by Bedford Pines. Officers also
exited their vehicles to address issues. APD off-duty Police Officers would generally stay
in areas where people tended to congregate or there was a history of problems. In
addition to the off-duty Police Officer(s), there was one on-duty Atlanta Police Officer in
Beat 603 where Bedford Pines is located. Officer Anaya testified that in 2019 – 2020,
there was a mini precinct in a hospital on Boulevard and a police team that concentrated
on street-level narcotics, gangs, and quality of life. He stated that this was “tremendously
helpful.” Kenneth Long testified that where the Subject Incident occurred, there is a police
precinct “right there,” and the police are there “all the time” and “every day.” APD off-duty
Police Officers generally worked at Bedford Pines during the daytime. There was not an



74 Deposition of Renato Anaya

75 Young and Hawk Interview, 4/25/24

76 Deposition of Carishma “Kelly” Young

77 Deposition of Cynthia Bianco

78 Deposition of Rod Teachey

79 Deposition of Jim Tate

80 Deposition of Carishma “Kelly” Young

81 Deposition of Rod Teachey

82 Deposition of Cynthia Bianco




                                                                                    Page 22
     Case 1:22-cv-01696-VMC               Document 95-1         Filed 04/29/24        Page 23 of 78
                                              Newton, et al. v. Wingate Management Company, LLC


armed security presence at Bedford Pines every night.83 84 85 APD's crime suppression
team, which operated in the area of Bedford Pines, was engaged in Focused Deterrence
("stopping cars and engaging pedestrians"). Focused Deterrence is a strategy that has
been proven effective at reducing violence.86 87 88

Wingate wanted the majority of off-duty Police Officers working at Bedford Pines at night.
The APD Coordinator, Sgt. Vayens, who was responsible for scheduling the off-duty
Police Officers, had a difficult time filling the nighttime positions. Wingate could not control
when Lt. Benjamin Vayens was able to fill off-duty positions. Off-duty Police Officers were
not on duty at Bedford Pines at the time of the Subject Incident.89 90 91

Nationally, staffing Police Officers for both on-duty and off-duty positions was
extraordinarily difficult in 2020 due to the COVID-19 pandemic92 which was declared on
March 11, 2020.93 94 95 The difficulty in staffing off-duty and on-duty Police Officers was
exacerbated by the nationwide social unrest resulting from the death of George Floyd96
on May 25, 2020. The number of sworn officers was down 1.3% nationally between
January 2020 and January 2021.97 The Atlanta Police Department’s experience was


83 Deposition of Jim Tate

84 Deposition of Renato Anaya

85 Deposition of Kenneth Long

86 Defendant's Exhibit 6

87 Braga AA, Weisburd D, Turchan B. Focused deterrence strategies effects on crime: A systematic

review. Campbell Systematic Reviews. e1051. https://doi.org/10.1002/cl2.1051
88 Braga, Anthony & Weisburd, David. (2012). The Effects of Focused Deterrence Strategies on Crime.

Journal of Research in Crime and Delinquency. 49. 323-358. 10.1177/0022427811419368.
89 Deposition of Carishma “Kelly” Young

90 Deposition of Renato Anaya

91 Deposition of Jim Tate

92 https://en.wikipedia.org/wiki/COVID-19_pandemic

93 Lum, C., Maupin, C., & Stoltz, M. (2022). The Supply and Demand Shifts in Policing at the Start of the

Pandemic: A National Multi-Wave Survey of the Impacts of COVID-19 on American Law Enforcement.
Police Quarterly, 10986111221148217. https://doi.org/10.1177/10986111221148217
94 Jennings, W. G., & Perez, N. M. (2020). The Immediate Impact of COVID-19 on Law Enforcement in

the United States. American journal of criminal justice : AJCJ, 45(4), 690–701.
https://doi.org/10.1007/s12103-020-09536-2
95 Nielson, K. R., Zhang, Y., & Ingram, J. R. (2022). The impact of COVID-19 on police officer activities.

Journal of criminal justice, 82, 101943. https://doi.org/10.1016/j.jcrimjus.2022.101943
96 https://en.wikipedia.org/wiki/George_Floyd

97 https://www.policeforum.org/staffing2023




                                                                                                  Page 23
     Case 1:22-cv-01696-VMC             Document 95-1          Filed 04/29/24       Page 24 of 78
                                            Newton, et al. v. Wingate Management Company, LLC


significantly worse with police staffing declining by 19.6% in 2020. 98 99 100 This was likely
the result of further social unrest in Atlanta resulting from the death of Rayshard Brooks101
on June 12, 2020. In addition to police resignations and low recruitment due to the
pandemic and the George Floyd incident, the Atlanta Police Department experienced a
high number of Police Officers calling call out sick in June 2020 because of the Rayshard
Brooks incident.102 As a result of the pandemic and social unrest, Lt. Vayens had
significant challenges to staffing off-duty Police Officers at Bedford Pines. Officer Anaya
testified that there was a shortage of Police Officers throughout the entire city. This
challenge continued until early 2022.103 104 105 106

Criminals engaged in disorder crimes (e.g. vandalism) and property crimes (e.g. theft) are
more likely to deterred via common security measures, while those engaged in violent
crimes (e.g. robbery) are less likely to be deterred. Violent crime is more difficult to
prevent. Criminologists have theorized that violent crimes are difficult to prevent 107 108
due to the spontaneous and irrational109 nature of violent crimes and to the impulsive and
expressive110 nature of violent criminals.

Do Security Officers deter or prevent violent crime? This is a question that does not get
asked often. Instead, society assumes that uniformed officers, whether police or security,
do in fact prevent crime. Literature reviews produced few research studies that
addressed the effectiveness of Security Officers in preventing crime in general and no
98 https://www.atlantaga.gov/government/departments/police

99 https://www.11alive.com/article/news/local/atlanta-police-numbers-2020/85-a54ace87-bed2-4d41-

87b1-150a9b877672
100 https://www.ajc.com/news/atlanta-police-ramping-up-recruiting-efforts-amid-officer-

shortage/X4FKJUG3IREUZDNTMZ2XISJUGY/
101 https://en.wikipedia.org/wiki/Killing_of_Rayshard_Brooks

102 https://www.cnn.com/2020/06/27/us/atlanta-police-rayshard-brooks-shooting-sick-outs/index.html

103 Deposition of Jim Tate

104 Young and Hawk Interview, 4/25/24

105 Deposition of Cynthia Bianco

106 Deposition of Renato Anaya

107 Taylor, B.G., Koper, C.S., and Woods, D.J. (2010). “A Randomized Controlled Trial of Different

Policing Strategies at Hot Spots of Violent Crime.” Journal of Experimental Criminology, 7(2):149–181.
108 Douglas, J. E. (2013). Crime Classification Manual: A Standard System for Investigating and

Classifying Violent Crimes, Third Edition. Hoboken, New Jersey, John Wiley & Sons, Inc.
109 Felson, Marcus (1993). "Predatory and Dispute-Related Violence: A Social Interactionist Approach" in
Routine Activity and Rational Choice: Advances in Criminological Theory, Volume 5 (Ronald V. Clarke
and Marcus Felson, Editors).
110 Taylor, B.G., Koper, C.S., and Woods, D.J. (2010). “A Randomized Controlled Trial of Different

Policing Strategies at Hot Spots of Violent Crime.” Journal of Experimental Criminology, 7(2):149–181.



                                                                                                  Page 24
     Case 1:22-cv-01696-VMC              Document 95-1          Filed 04/29/24        Page 25 of 78
                                             Newton, et al. v. Wingate Management Company, LLC


studies regarding Security Officer effectiveness in preventing violent crimes and assaults
specifically. Two recent systematic reviews111 112 also sought research on Security
Officer effectiveness and were unsuccessful, though both systematic reviews reference
two research studies on the Guardian Angels. Of the two studies, one did not evaluate
violent crimes. The other study concluded that the Guardian Angels reduced property
crime but had no effect on violent crime.113 A subsequent literature search uncovered a
survey-based research design on the use of Security Officers at shopping centers. The
study found no evidence that Security Officers have a marked preventive effect on the
number of criminal incidents (violent, property, and disorder crimes).114

To date, the literature reviews identified 27 studies which address Security and Police
Officer effectiveness for preventing violent crime:

1. Lee, Gang & Hollinger, Richard & Dabney, Dean. (1999). The relationship between
   crime and private security at US shopping centers. American Journal of Criminal
   Justice. 23. 157-177. 10.1007/BF02887270.

2. McElvain, J.P.; Kposova, A.J.; Gray, B.C. (2013). “Testing a Crime Control Model:
   Does Strategic and Directed Deployment of Police Officers Lead to Lower Crime?”
   Journal of Criminology, 2013: 1-11.

3. McGarrell, E.F., Chermak, S., Weiss, A. and Wilson, J. (2001), Reducing Firearms
   Violence Through Directed Police Patrol. Criminology & Public Policy, 1: 119-148.
   https://doi.org/10.1111/j.1745-9133.2001.tb00079.x

4. Ratcliffe, J.H., Taylor, R.B., Askey, A.P. et al. The Philadelphia predictive policing
   experiment. J Exp Criminol 17, 15–41 (2021). https://doi.org/10.1007/s11292-019-
   09400-2

5. Haberman, Cory & Stiver, Wendy. (2018). The Dayton Foot Patrol Program: An
   Evaluation of Hot Spots Foot Patrols in a Central Business District. Police Quarterly.

111 Welsh, B., Mudge, M. & Farrington, D. Reconceptualizing public area surveillance and crime

prevention: Security guards, place managers and defensible space. Secur J 23, 299–319 (2010).
https://doi.org/10.1057/sj.2008.22
112 Hollis-Peel, M.E., Reynald, D.M., van Bavel, M. et al (2011). Guardianship for crime prevention: a

critical review of the literature. Crime Law Soc Change 56, 53–70. https://doi.org/10.1007/s10611-011-
9309-2
113 "In San Diego, Pennell et al (1989) found that the introduction of patrols by the Guardian Angels in a

downtown redevelopment area was effective in reducing property crime but had no effect on violent crime
over a 30-month follow-up period."
114 Lee, Gang & Hollinger, Richard & Dabney, Dean. (1999). The relationship between crime and private

security at US shopping centers. American Journal of Criminal Justice. 23. 157-177.
10.1007/BF02887270.



                                                                                                  Page 25
    Case 1:22-cv-01696-VMC        Document 95-1      Filed 04/29/24    Page 26 of 78
                                     Newton, et al. v. Wingate Management Company, LLC




6. Groff, E.R.; Ratcliffe, J.H.; Haberman, C.P.; Sorg, E.T.; Joyce, N.M.; Taylor, R.B.
   (2015). “Does What Police Do at Hot Spots Matter? The Philadelphia Policing Tactics
   Experiment.” Criminology, 53(1):23-53.

7. Wells, W.; Wu, L. (2011). “Proactive Policing Effects on Repeat and Near-Repeat
   Shootings in Houston.” Police Quarterly, 14(3):298-319.

8. Taylor, B.G.; Koper, C.S.; and Woods, D.J. (2010). “A Randomized Controlled Trial of
   Different Policing Strategies at Hot Spots of Violent Crime.” Journal of Experimental
   Criminology, 7(2):149-181.

9. Fabbri, Marco and Klick, Jonathan (2021). The ineffectiveness of ‘observe and report’
   patrols on crime, International Review of Law and Economics, Volume 65, 2021,
   105972, ISSN 0144-8188, https://doi.org/10.1016/j.irle.2020.105972.

10. Kelling, G. L. (1974). The Kansas City preventive patrol experiment: A summary
    report. Washington: Police Foundation.

11. Pate, A. (1981). The Newark foot patrol experiment. Washington, DC: National
    Policing Institute.

12. Schaefer, Brian P., Thomas Hughes & W. Cameron Stelzig (2019): Hot Spots Across
    the Metropolis: Evaluating Hot Spots Directed Patrol at City and Suburban Locations,
    Justice Quarterly, DOI: 10.1080/07418825.2019.1616804

13. Fritsch, E. J., Caeti, T. J., & Taylor, R. W. (1999). Gang Suppression Through
    Saturation Patrol, Aggressive Curfew, and Truancy Enforcement: A Quasi-
    Experimental Test of the Dallas Anti-Gang Initiative. Crime & Delinquency, 45(1), 122–
    139. https://doi.org/10.1177/0011128799045001007

14. Esbensen, FA., Taylor, C.R. Foot patrol and crime rates. AJCJ 8, 184–194 (1984).
    https://doi.org/10.1007/BF02885864

15. Corsaro, N., Engel, R. S., Herold, T. D., Yildirim, M. (2019). Implementing Gang &
    Gun Violence Reduction Strategies in Las Vegas, Nevada: Hot Spots Evaluation
    Results. 1-42. International Association of Chief of Police (IACP).

16. Bowers, W., & Hirsch, J. (1987). The impact of foot patrol staffing on crime and
    disorder in Boston: An unmet promise. American Journal of Police, 6, 17-44.

17. Rosenfeld, R.; Deckard, M.J.; and Blackburn, E. (2014). “The Effects of Directed
    Patrol and Self-Initiated Enforcement on Firearm Violence: A Randomized Controlled
    Study of Hot Spot Policing.” Criminology, 52(3):428-449.


                                                                                 Page 26
    Case 1:22-cv-01696-VMC         Document 95-1      Filed 04/29/24    Page 27 of 78
                                      Newton, et al. v. Wingate Management Company, LLC




18. Novak, K.J.; Fox, A.M.; Carr, C.M.; Spade, D.A. (2016). “The Efficacy of Foot Patrol
    in Violent Places.” Journal of Experimental Criminology, 12(3):465-475.

19. Carriaga, M.L.; Worrall, J.L. (2015). “Police Levels and Crime: A Systematic Review
    and Meta-Analysis.” Police Journal: Theory, Practice and Principles, 88(4):315-333.

20. Piza, E. and O’Hara, B. (2014). Saturation Foot Patrol in a High-Violence Area: A
    QuasiExperimental Evaluation. Justice Quarterly, 31(4), 693-718.

21. Sedelmaier, C. M., & Hipple, N. K. (2016). New Haven, Connecticut Smart Policing
    Initiative: Employing Evidence-Based Policing Strategies to Engage the Community
    and Reduce Crime. Washington, DC: Smart Policing Initiative, Bureau of Justice
    Assistance.

22. Rydberg, J., McGarrell, E.F., Norris, A. et al. A quasi-experimental synthetic control
    evaluation of a place-based police-directed patrol intervention on violent crime. J Exp
    Criminol 14, 83–109 (2018). https://doi.org/10.1007/s11292-018-9324-8

23. Ratcliffe, J.H.; Taniguchi, T.; Groff, E.R.; and Wood, J.D. (2011). “The Philadelphia
    Foot Patrol Experiment: A Randomized Controlled Trial of Police Patrol Effectiveness
    in Violent Crime Hotspots” Criminology, 49:795-831.

24. Braga, A.A., Hureau, David & Papachristos, Andrew. (2012). An Ex Post Facto
    Evaluation Framework for Place-Based Police Interventions. Evaluation review. 35.
    592-626. 10.1177/0193841X11433827.

25. Caplan JM, Kennedy LW, Drawve G, Baughman JH (2021). Data-Informed and Place-
    Based Violent Crime Prevention: The Kansas City, Missouri Risk-Based Policing
    Initiative. Police Quarterly. March 2021. doi:10.1177/10986111211003205

26. Corsaro, N., Engel, R.S., Herold, T.D. et al (2021). Hot spots policing in Las Vegas:
    results from a blocked randomized controlled trial in chronic violent crime locations. J
    Exp Criminol. https://doi.org/10.1007/s11292-021-09485-8

27. Weisburd, David & Petersen, Kevin & Telep, Cody & Fay, Sydney. (2024). Can
    increasing preventive patrol in large geographic areas reduce crime?: A systematic
    review and meta‐analysis. Criminology & Public Policy. 10.1111/1745-9133.12665.

The findings from these studies clearly indicate that Police and Security Officers
conducting foot and/or vehicle patrols have little to no impact on violent crime. These
findings are consistent with research efforts which began almost 50 years ago. The
Kansas City preventive patrol experiment of 1974 found that neither doubling nor



                                                                                   Page 27
     Case 1:22-cv-01696-VMC               Document 95-1          Filed 04/29/24        Page 28 of 78
                                              Newton, et al. v. Wingate Management Company, LLC


removing preventive patrol in a police speed had a significant impact on crime or
victimization.115 116

Further, of the 27 studies, four addressed decay, that is, diminishing returns after
treatment is implemented. The findings regarding decay are summarized as follows:

▪   For total crime and especially property crime, the initial reduction in crime associated
    with the Safer Rock intervention dissipates substantially after month six...any
    deterrence benefits of security guards are short-lived at best...no longer than a few
    months...Because the Safer Rock security guards could not do anything more than
    generic citizens always could do (i.e., call the police to report a crime), they should not
    have an enduring effect on crime. While it may take some time for criminals to
    understand that security guards do not represent a meaningful change in the
    constellation of opportunities, costs, and benefits attaching to any particular kind of
    crimes, including more “visible” criminal acts like burglaries and property-related
    crimes, our results suggest that criminals learn this lesson relatively quickly.117

▪   Deterrent effect quickly decayed - Crime reduction was greatest after the initial
    implementation of foot patrol, dissipating quickly during the project. During the latter
    part of the treatment period, violent crime rates rebounded in the foot beat areas,
    doubling from the initial early-treatment low point during the latter eight weeks of
    treatment. Violent crime rates had already returned to pre-treatment levels while foot
    patrols were still deployed. The results presented here indicate that any treatment
    benefit is relatively short-lived, which is consistent with previous observations.118

▪   Robberies increased after an initial decrease.119




115 Weisburd, David, et al. (2016), Place Matters: Criminology for the Twenty-First Century. Cambridge:

Cambridge University Press.
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                                                                                                   Page 28
     Case 1:22-cv-01696-VMC              Document 95-1          Filed 04/29/24        Page 29 of 78
                                             Newton, et al. v. Wingate Management Company, LLC


▪   The crime reduction benefits did not last. The effects that were observed started to
    slow down the longer the experiment went on, demonstrating a type of deterrence
    decay.120

In short, if violent crime declined when Police or Security Officers were deployed, the
violent crime reduction dissipated quickly during the treatment period. The research
regarding decay indicates that any treatment benefit is relatively short-lived (i.e. 6-8
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                                                                                                  Page 29
     Case 1:22-cv-01696-VMC             Document 95-1          Filed 04/29/24       Page 30 of 78
                                            Newton, et al. v. Wingate Management Company, LLC


OPINIONS

My opinions relate to the risk of crime developed from evidence-based research and
experience consulting with and for Places across the country. As a security consultant
and crime analyst, I have spent over 29 years developing specialized knowledge
regarding security and crime prevention. During that time, I have reviewed security
guidelines, standards, best practices, and criminological research which informs my
opinions and assists in my evaluation of crime risk at places similar to Bedford Pines.

Using this specialized knowledge, I have written three books and numerous articles on
crime analysis, security, and crime prevention and presented on these topics at industry
conferences. I have also developed, in collaboration with other experts, security and
crime prevention standards, guidelines, and best practices for three major security
industry associations. I have chaired committees for security industry associations which
developed evidence-based research regarding the efficacy of security measures in
prevention violent, property, and disorder crime. Please see my Curriculum Vitae
(Appendix A) for specific details.

In arriving at my opinions in this case, I adhered to the consensus-based, published, and
peer-reviewed Forensic Methodology (Appendix B) promulgated by the International
Association of Professional Security Consultants (IAPSC).

For all the reasons set forth throughout this report, my opinions with respect to this matter
are as follows:

1. Gang affiliation is a risky behavior. Gang members participate in risky behaviors at a
   substantially higher rate than non-gang members. Gang members commit violent
   offenses, such as aggravated assault, sexual assault, intimate partner violence, and
   robbery, more frequently. Gang affiliation increases an individual’s risk of victimization.
   Gang affiliation increased the odds of serious injuries from fighting by 284%.121 122 123
   Engaging in risky behaviors is not in furtherance of self-guardianship.

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                                                                                                Page 30
     Case 1:22-cv-01696-VMC               Document 95-1           Filed 04/29/24        Page 31 of 78
                                              Newton, et al. v. Wingate Management Company, LLC




2. Based on all available evidence, the Subject Incident can be classified as gang-
   related, Victim-Targeted Violence, and part of a series of Violent Retaliatory Disputes.
   Targeted Violence is an act of aggression or harm deliberately directed towards
   specific individuals or groups. Victim-Targeted Violence is difficult to anticipate based
   on the condition of a property because it is the product of preexisting animosities. A
   Violent Retaliatory Dispute is an interaction involving conflict over a period of time
   between two or more individuals and/or people associated with them marked by two
   or more events involving confrontation or intimidation in which at least some of those
   events involve violent acts or credible threats of violence. Targeted Violence is difficult
   to prevent even when reasonable security measures are in place.124 125 126 127 128 129
    130 131 132 133 134


3. Atlanta had a substantial shortage of Police Officers at the start of the pandemic which
   was exacerbated by the social unrest in Atlanta which continued through the Summer
   of 2020. This resulted in significant challenges to staffing Bedford Pines with off-duty
   Police Officers which were recommended by Plaza Security. Under the prevailing
   circumstances in the summer of 2020, the security program in place at Bedford Pines
   was reasonable. The Bedford Pines security program consisted of a multi-pronged
   approach to mitigating security risk. Wingate met the applicable standard of care
   relating to security. The Subject Incident was not the result of any security failures
   caused by Wingate.

                                         - - - END OF REPORT - - -


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                                                                                                     Page 31
    Case 1:22-cv-01696-VMC        Document 95-1      Filed 04/29/24    Page 32 of 78
                                     Newton, et al. v. Wingate Management Company, LLC


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    Case 1:22-cv-01696-VMC       Document 95-1      Filed 04/29/24   Page 33 of 78
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                                    Newton, et al. v. Wingate Management Company, LLC




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    Case 1:22-cv-01696-VMC       Document 95-1      Filed 04/29/24    Page 36 of 78
                                     Newton, et al. v. Wingate Management Company, LLC


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    Case 1:22-cv-01696-VMC       Document 95-1      Filed 04/29/24    Page 38 of 78
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    Case 1:22-cv-01696-VMC       Document 95-1      Filed 04/29/24   Page 39 of 78
                                    Newton, et al. v. Wingate Management Company, LLC


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                                                                               Page 39
    Case 1:22-cv-01696-VMC          Document 95-1       Filed 04/29/24     Page 40 of 78
                                       Newton, et al. v. Wingate Management Company, LLC


TESTIMONIAL HISTORY

I testified by deposition or in trial in the following matters during the past four years:

Civil Action No. 17A66840; Jose Ricardo Marquez and Lazaro Fuentes, Plaintiffs vs. FV
Apts LLC, CF Real Estate Services LLC, CF Real Estate Services Manager LLC, CF
Property Management LLC, Trantor Property Management, LLC, Trantor Management,
Inc., Trantor Realty, LLC, Trantor Realty, Inc., Forest Vale Apartments, and John Does
1-5, Defendants; In the State Court of DeKalb County, State of Georgia
June 9, 2020

No. 2017 L 11405; Karin Carlson and Grant Maddox, Plaintiffs vs. Going Places, LLC;
Dearborn Street Building Associates, LLC; PBBS, INC.; PMD Realty, LLC; PMD Builds,
LLC, and Astor Street Partners, LLC, Defendants; In the Circuit Court of Cook County,
Illinois, County Department - Law Division
December 10, 2020

Civil Action File No. 18EV002664; Rogelio Monroy Mayorga, Plaintiff vs. The Fulton-
DeKalb Hospital Authority, Grady Memorial Hospital Corporation, and John Does Nos. 1-
5, Defendants; In the State Court of Fulton County, State of Georgia
January 12, 2021

Civil Suite No. 263,393; Ali Kazan and Ebony Medlin, Individually and on Behalf of their
Daughter, Lia Kazan, deceased, Plaintiffs vs. Red Lion Hotels Corporation, Red Lion
Hotels Franchising, Inc., Vantage Hospitality Group, Inc., Om Ganesh, LLC, Ketan Patel,
and Vitthal, LLC, Defendants; In the 9th Judicial District Court, Parish of Rapides, State
of Louisiana
June 22, 2021

Civil Action File No. 20A82018; Latwenita Gay, on behalf of the Estate of Antoine Neville,
and on behalf of Ariana Stephens, Antonio Neville, Jr., Giovanni Neville, Elijah Jews,
Ayden Jews, and Demi Y’lani Perry, the minor children of Antonio Neville, Plaintiffs vs.
Shaw Hospitality, LLC d/b/a/ Gulf America Inn a/k/a Gulf American Inns, Quintavus
Williams, a/k/a Quintavius Williams, a/k/a Quintavus Fred Williams, a/k/a Quintavius Fred
Williams, a/k/a Fred Williams, a/k/a Mario Teasley, Brandisha Williams, and John Does
1-10, Defendants; In the State Court of DeKalb County, State of Georgia
July 28, 2021

Case No. 1:20-Cv-03129-Ca; Mildred Collins-Williams as Administrator of the Estate of
Tijuana Frazier and as Guardian and Next Friend of Quanisha Holt, a Minor, and Pebbles
McClain as Guardian and Next Friend of Julian Frazier and Isaiah Frazier, Plaintiffs vs.
Contour Eastwyck, LLC, Defendant; In the United States District Court for the Northern
District of Georgia, Atlanta Division
August 5, 2021


                                                                                      Page 40
    Case 1:22-cv-01696-VMC         Document 95-1       Filed 04/29/24    Page 41 of 78
                                      Newton, et al. v. Wingate Management Company, LLC




CAFN: 18CV01884JFL003; Sherry K. Watrous and Jay Watrous v. River Root Partners,
LLC, and River Root Partners II, LLC, and River Root Investors, LLC, The Kroger Co.,
R.H. Ledbetter Properties, Inc., RHLP, LLC, dlb/a R.H. Ledbetter Properties, LLC,
Frontline Defense Protection Services, LLC, and John/Jane Does 1-3 Floyd County
Superior Court, State of Georgia
August 25, 2021

Civil Action No. 20EV002147; Tynesha Bostick, as next friend and surviving parent of
Malik Werts, deceased, and John Doe, as the administrator of the estate of Malik Werts,
deceased, Plaintiffs vs. MSC Fields Peachtree Retreat, LL, MSC Investment and
Management, LLC, MSC Properties, LLC and John Does # 1-3, Defendants; In the State
Court of Fulton County, State of Georgia
September 21, 2021

Cause No. 2019C123891; Ildefonsa Hernandez, Individually and as Next Friend of Sergio
Hernandez, Jasmine Hernandez, Danielle Hernandez, Minors, Plaintiff vs. Monica Ray
Silva, and Jocob Engelbrecht, and Judith Deramus, and Express Care Ambulance
Services, Defendants; In the District Court of the 131st Judicial District, Bexar County,
Texas
September 23, 2021

Andrea Chamblee, Personally and as the Personal Representative of the Estate Of John
P. McNamara, et al / Beth Rittenour, et al v. The Baltimore Sun Company, LLC, et al /
Bestgate Corporate Center, LLC, et al., No's. C-02-CV-21-000820 & C-02-CV-21-000823
January 14, 2022

Civil Action File No. SU20CV0185; Lashanda Callaway, Plaintiff and Justyn Aikens,
Plaintiff vs. Clarke Gardens Apartments; Ashton Clarke, LP; Ambling Management Co.
LLC; and John Doe Defendants A through H, Defendants; In the Superior Court of Clarke
County, State of Georgia
March 29, 2022

Cause No. CC-19-03831-D; Jessica Hill as Next Friend of HVH, SMH, JRH, and KPH,
Minor Children, Priscilla Escobedo-Hill, Individually, and as Next Friend of KMH, a Minor
and Romeo Hill, Individually, Plaintiffs vs. RCI Hospitality Holdings, Inc., d/b/a XTC Dallas
Cabaret, Front-Line Protective Services, Eric Hansen, And Daterrious Haggard,
Defendants; In the County Court at Law No. 4 of Dallas County, Texas
March 31, 2022

No. 2017 L 11405; Karin Carlson and Grant Maddox, Plaintiffs vs. Going Places, LLC;
Dearborn Street Building Associates, LLC; PBBS, INC.; PMD Realty, LLC; PMD Builds,
LLC, and Astor Street Partners, LLC, Defendants; In the Circuit Court of Cook County,
Illinois, County Department - Law Division


                                                                                   Page 41
    Case 1:22-cv-01696-VMC        Document 95-1     Filed 04/29/24    Page 42 of 78
                                     Newton, et al. v. Wingate Management Company, LLC


April 6, 2022 (Trial Testimony)

Civil Action File No. 2020RCCV00531; Aubrey Adams-Knowlden, Plaintiff vs. August
Mall, LLC; Amy Dalton; Andy Frain Services, Inc. and John Does 1-20, Defendant(s); In
the Superior Court of Richmond County, State of Georgia
June 9, 2022

Case No. 2021-007809-CA-01; Ronald Walker, as Personal Representative of the Estate
of Devan Walker, deceased, Plaintiff vs. Pink Pressure, Inc. and Marlin Road Partners,
LLC, Defendants; In the Circuit Court of the Eleventh Judicial Circuit, in and for Miami-
Dade County, Florida, Circuit Court Civil Division
June 29, 2022

Cause No. 2019-43473; Christopher Esquivel and Maria Maya, Individually and as
Representatives of the Estate of Ramon Esquivel (Deceased), Plaintiffs vs. KVA
Investments, LLC d/b/a Bristol Court Apartments, and Falcon Security, Inc., Defendants;
In the 269th District Court, Judicial District Court, Harris County, Texas
July 15, 2022

Case No. 2021-00-3836-CA-01; Barbara Smith, as Personal Representative of the Estate
of Gregory Smith, Jr., Plaintiff vs. Providence 72 LLC, the Lopez Companies, Inc., & John
Doe, Defendants; In the Circuit Court of the Eleventh Judicial Circuit in and for Miami-
Dade County, Florida, Civil Division
August 29, 2022

Cause No. 2019-04407; Juan Ramos Cantu vs. Village Real Property, Inc.; In the District
Court of Harris County, Texas; 80th Judicial District
September 30, 2022

Civil Action No. STCV19-01893; Tonya Sills, Plaintiff vs. New Millennium Smiles, LLC
d/b/a Savannah Smiles Dueling Pianos, Defendant; In the State Court of Chatham
County, State of Georgia
November 14, 2022

Case No. 21-018455; Shanika Williams, Plaintiff vs. Venice Partners, LTD., a Florida
Corporation, Southport Financial Services, Inc., a Foreign Corporation, and Cambridge
Management of Washington, Inc. a Foreign Corporation, Defendants; In the Circuit Court
of the Seventeenth Judicial Circuit, in and for Broward County, Florida
November 16, 2022

Caroline Bradley, Plaintiff vs. Golden Pantry Food Stores, Inc., Eric Mitchell, and John
Does 1 and 2, Defendants; In the State Court of Clarke County, State of Georgia
December 1, 2022



                                                                                Page 42
    Case 1:22-cv-01696-VMC         Document 95-1       Filed 04/29/24    Page 43 of 78
                                      Newton, et al. v. Wingate Management Company, LLC


Case No. A-20-812202-C, Dept. No. IV; Glenn Bension, Administrator of the Estate of
Jamie Arnold, Deceased; and Shirley Arnold, and Heir to the Estate of Jamie Arnold,
Deceased, Plaintiffs vs. Alhambra Place Partnership, LP, Advanced Management Group
Nevada, LLC, Reliance Security, Inc., Defendants; In the District Court, Clark County,
Nevada
December 5, 2022

Cause No. 2021-23853; Ricci Simmons, Jr., Plaintiff vs. Crysnick Entertainment, LLC
d/b/a Bar 2200, Boniuk Interests, Ltd., Mila Properties, Inc., Crystal D. Henderson, and
G4S Secure Solutions (USA), Inc., Defendants; In the District Court, Harris County,
Texas, 281st Judicial District
December 14, 2022

Cause No. 2021-37331; Reta L. Hutchins, Individually and as Estate Representative for
Decedent, Marquise Hutchins, and Traivion Moore, Plaintiffs vs. 7-Eleven Inc., ANR
Corporation, Defendants; In the District Court, Harris County, Texas, 11th Judicial District
March 2, 2023

Civil Action File No. 2022V-0023SFW; Tamekia Arnold, as Legal Guardian and Next
Friend of Kentavious Gordon; and Tamekia Arnold, as the Administrator of the Estate of
Louis Tramaine Gordon, Deceased, Plaintiffs vs. Falguni Patel, Defendant; In the
Superior Court of Bleckley County, State of Georgia
March 24, 2023

Cause No. D-1-GN-20-000667; Roel Zamora, Plaintiff vs. TP Franchise Austin, LLC; TP
Franchise Venture I, LP; TP Franchise Venture I, LLC; TP Texas Beverages, LLC; Twin
Restaurant Management, LLC; Front Burner Restaurants GP, LLC; and Front Burner
Restaurants, LP, Defendants; In the District Court, 419th Judicial District, Travis County,
Texas
April 14, 2023

No. 2022CV363118; Graham vs. VCP Hammond, LLC; In the State Court of Fulton
County, Georgia
April 20, 2023

Civil Action File No. 2021RCCV00575; Traci Boykin and Halma Boykin as surviving
children of David Boykin, for themselves and Chrissy Ann Boykin, as administrator of the
Estate of David Boykin, deceased, Plaintiffs vs. Brookside Properties, Inc. (Tennessee),
d/b/a Peach Orchard Plaza, a foreign profit corporation, G4S Secure Solutions (USA)
Inc., a foreign profit corporation, and Biotest Pharmaceuticals Corporation, a foreign profit
corporation, Defendants; In the Superior Court of Richmond County, State of Georgia
May 11, 2023




                                                                                   Page 43
    Case 1:22-cv-01696-VMC        Document 95-1      Filed 04/29/24    Page 44 of 78
                                     Newton, et al. v. Wingate Management Company, LLC


Carolyn Enzor, as Next friend of Kai Enzor and Karter Enzor and Julianne Glisson,
Administrator of The Estate of Ka’la Enzor v. The Kroger Co.; In the United States District
Court, Southern District of Georgia, Savannah Division, Civil Action No. CV422-083
June 14, 2023

Case No. A-19-799464-C, Dept. No. III; Gloria S. Zapata, as special administrator for the
estate of Jonathan Blackstone, deceased; and Mitchell Blackstone, individually and as
heir to the Estate of Jonathan Blackstone, Plaintiffs vs. Showcase 1415 LLC et al,
Defendants; In the District Court, Clark County, Nevada
June 16, 2023

Case No. 2020-CA-8908; Walter Nelson, Plaintiff vs. S2 Grandview, LLC and S2C Florida
Management, LLC, Defendants; In the Circuit Court of the 9th Judicial Circuit, In and For
Orange County, Florida
August 14, 2023

Civil Action File No. 22EV002045; Jihad Karim, Plaintiff vs. Integral Property
Management, LLC, Defendant; In the State Court of Fulton County, State of Georgia
August 17, 2023

Case No. 01-22-0002-8503; Virginia Smotherman, Individually and on behalf of the Estate
of Pollyanna Smotherman vs. GPM Southeast, LLC and GPM Investments, LLC d/b/a E-
Z Mart, and John Doe; In the American Arbitration Association
August 29, 2023

Cause No. 21-CVS-2396; Dorinda Holaday, as Ancillary Administrator of the Estate of
John Holaday, Plaintiffs vs. Epicentre SPE (Charlotte), LLC, Epicentre (Charlotte), LLC,
CIM Group, LP, CIM Management, Inc., CIM Group, LLC, Raheem Sachlette, and
Universal Protection Service, LLC d/b/a Allied Security and/or Allied Universal,
Defendants; In the General Court of Justice, Superior Court Division
September 25, 2023

Case No: 1:22-CV-01108; Wallace Wormack, et al, Plaintiffs v. Caesars Baltimore
Management Company, LLC, et al, Defendants; In the United States District Court for the
District of Maryland, Northern Division
September 26, 2023

Civil Action File No. 20-C-04895-S2; Shanique Mayes, Individually and as Next of Kin
and Natural Parent on behalf of McKenzie Mayes, a minor, Plaintiffs vs. Eastwyck Village
Apartments, and Countour Eastwyck, Defendants; In the State Court of Gwinnett County,
State of Georgia
October 11, 2023




                                                                                  Page 44
    Case 1:22-cv-01696-VMC         Document 95-1      Filed 04/29/24    Page 45 of 78
                                      Newton, et al. v. Wingate Management Company, LLC


Cause No. CV2045855; Bulah Marie Garrett, Individually and as Representative of the
Estate of Lyndell Ray Garrett, Deceased, Lisa Garrett and Shelly Garrett, Plaintiffs vs.
Wal-Mart Stores Texas, LLC d/b/a Wal-Mart Supercenter #561 and Greyhound Lines,
Inc., Defendants; In the District Court, 91st Judicial District, Eastland County, Texas
November 2, 2023

Civil Action File No. 1:20-cv-05233-SEG; J.G., Plaintiff vs. Northbrook Industries, Inc.,
d/b/a United Inn and Suites, Defendant; In the United States District Court for the Northern
District of Georgia, Atlanta Division; Civil Action File No. 1:20-CV-05231-JPB; A.G.,
Plaintiff vs. Northbrook Industries, Inc., d/b/a United Inn and Suites, Defendant; In the
United States District Court for the Northern District of Georgia, Atlanta Division; Civil
Action File No. 1:20-CV-05232-JPB; G.W., Plaintiff vs. Northbrook Industries, Inc., d/b/a
United Inn and Suites, Defendant; In the United States District Court for the Northern
District of Georgia, Atlanta Division
November 28, 2023

Case No. 2016-CV00782, Division 17; Darrell Sander, Plaintiff v. Landmark Realty of
Missouri, LLC, dba Landmark Realty, LLC, and KC Waldo Heights Apts., LLC; In the
Circuit Cout of Jackson County, Missouri at Independence
December 1, 2023

Civil Action File No. 22EV001790; Tammia Verser, Plaintiff vs. AG-P Atlanta Perimeter
Owner, LLC, d/b/a Hyatt Regency Atlanta Perimeter at Villa Christina, Defendant; In the
State Court of Fulton County, State of Georgia
December 7, 2023

Civil Action File No. 21-CG-0506-DG; Reginald Bloodsaw, Plaintiff vs. Envolve
Community Management, LLC f/k/a LEDIC Realty Company, LLC A Foreign Limited
Liability Corporation, Oconee Park Partners, LP, a Georgia Limited Partnership and John
Does Nos. 1-5, Defendants; In the Superior Court of Laurens County, State of Georgia
December 12, 2023

Civil Action File No. 2020CV341987; Katherine Wenszell, and Susan Wenszell, Plaintiffs
vs. Metropolitan Atlanta Rapid Transit Authority, Defendants; In the Superior Court of
Fulton County, State of Georgia
December 19, 2023

Civil Action No. 20-A-301; Dawn C. Smith and Brad S. Smith, Plaintiffs vs. Six Flags Over
Georgia, LLC, Six Flags Over Georgia, LTD (L.P.), Six Flags Over Georgia II, LP, Six
Flags Over Georgia, Inc., Six Flags Fund, LTD, LP, SFOG II, Inc., SFG-I, LLC, SFG-II,
LLC, and John Does Nos. 1-5, Defendants; In the State Court of Cobb County, State of
Georgia
January 6, 2022 and December 21, 2023 (Rebuttal)



                                                                                  Page 45
    Case 1:22-cv-01696-VMC         Document 95-1      Filed 04/29/24    Page 46 of 78
                                      Newton, et al. v. Wingate Management Company, LLC


Case No. 2021-027908-CA-01; Hung Nguyen, as Personal Representative of the Estate
of Le’Shonte Jones, deceased, Plaintiff vs. Coral Bay Cove, LLC, a Florida limited liability
company, and Royal American Management, Inc., a Florida corporation, Defendants; In
the Circuit Court of the 11th Judicial Circuit in and for Miami-Dade County, Florida
January 11, 2024

Case No. 2021-010717-CA-01; Allisha Johnson, as Personal Representative of the
Estate of Solomon Johnson, Plaintiff vs. Miami-Dade County, and Security Alliance, LLC,
Defendants; In the Circuit Court of the 11th Judicial Circuit, in and for Miami-Dade County,
Florida
January 29, 2023

No. 1:23-cv-00145-JPB; AG and HH vs. Dayram V. Patel; In the United States District
Court for the Northern District of Georgia, Atlanta Division
January 31, 2024

Case No. 01-22-0002-8503; Virginia Smotherman, Individually and on behalf of the Estate
of Pollyanna Smotherman vs. GPM Southeast, LLC and GPM Investments, LLC d/b/a E-
Z Mart, and John Doe; In the American Arbitration Association
February 20, 2024 (Arbitration Testimony)

Civil Action File No. 22EV001488; V.W. and Adult Female, Plaintiff vs. Simon Property
Group, LP; Universal Protection Service, LLC; 3399 Peachtree, LLC; Reef Parking
Enterprises, LLC; and Robin Suggs, Defendants; In the State Court of Fulton County,
State of Georgia
March 6, 2024

Case No. 2020-CA-001926; Norma Martinez, as personal representative of the Estate of
H.R.V., Plaintiff vs. Sana of Jacksonville, Inc., Bones, LLC, Sunshine Restaurant
Holdings, LLC and Sunshine Restaurant Merger Sub, LLC, Defendants; In the Circuit
Court, Fourth Judicial Circuit, in and for Duval County, Florida
March 22, 2024

Civil Action File No.: 21EV006765; Desmond Hunter, Plaintiff, vs. Marriott Hotel Services,
Inc., Atlanta Marriott Suites Midtown, John/Jane Doe Individuals 1-5, and John/Jane Does
Entities 1-5, Defendants; In the State Court of Fulton County, State of Georgia
April 11, 2024




                                                                                  Page 46
    Case 1:22-cv-01696-VMC        Document 95-1     Filed 04/29/24   Page 47 of 78
                                      Newton, et al. v. Wingate Management Company, LLC


COMPENSATION

My time is billed at $600 per hour.




                                                                              Page 47
    Case 1:22-cv-01696-VMC            Document 95-1        Filed 04/29/24      Page 48 of 78
                                         Newton, et al. v. Wingate Management Company, LLC


APPENDIX A: Curriculum Vitae of Karim Vellani

Professional Experience Summary

Karim H. Vellani is the President of Threat Analysis Group, LLC, an independent security
consulting firm. Karim is Board Certified in Security Management (CPP), a Board-Certified
Security Consultant (CSC), and has over 29 years of security management, crime analysis, and
forensic security consulting experience. He has a bachelor’s degree in Criminal Justice with a
specialization in Law Enforcement and a master’s degree in Criminal Justice Management. He is
the author of three books, Applied Crime Analysis, Strategic Security Management, Unraveled:
An Evidence-Based Approach to Understanding and Preventing Crime, and has contributed to a
number of other security related books and journals. Karim serves on various research teams
conducting evidence-based research on violent crime prevention, workplace violence, sex
trafficking, and use of force.

As an independent security management consultant, Karim has been retained by Fortune 500
companies and government agencies. He has extensive experience in risk management and
security force protection and provides consultation on a regular basis at government,
commercial, and residential facilities across the nation. Karim has worked on projects ranging
from data centers, hospitals and healthcare facilities, houses of worship, manufacturing facilities,
financial institutions, retail stores, shopping centers and malls, hotels and motels, office
buildings, and residential housing (including Section 8).

For 11 years, Karim was responsible for managing the quality control/assurance function for
United States Department of Homeland Security’s (DHS) protection force at federal government
buildings in 23 states including Mississippi, Alabama, West Virginia, California, Montana, North
Dakota, South Dakota, Wyoming, Utah, Nevada, North Carolina, Tennessee, Arizona, Kentucky,
Illinois, Washington, Idaho, Texas, Oklahoma, Florida, South Carolina, Rhode Island, and
Massachusetts.

Karim specializes in crime analysis and security risk assessment and mitigation. He developed a
crime analysis methodology that utilizes the Federal Bureau of Investigation’s (FBI) Uniform
Crime Report coding system and a proprietary software application called CrimeAnalysisTM. The
software allows end users to identify specific threats, select appropriate countermeasures, and
reduce their risk. The methodology was originally published in Applied Crime Analysis and
evolved in Unraveled: An Evidence-Based Approach to Understanding and Preventing Crime.
Since developing the crime analysis methodology, Karim has assessed crime threats at thousands
of facilities. Karim has also developed a Security Risk Assessment Methodology for Healthcare
Facilities and Hospitals. In 2009, the International Association of Healthcare Security and Safety
(IAHSS) published its Security Risk Assessment Guideline, which was authored by Karim at the
request of IAHSS. In 2023, he authored the IAHSS guideline on Human Trafficking Victim



                                                                                          Page 48
    Case 1:22-cv-01696-VMC           Document 95-1        Filed 04/29/24      Page 49 of 78
                                         Newton, et al. v. Wingate Management Company, LLC


Identification and Response. Karim was also a Technical Committee Member on the Risk
Assessment Standard Development Committee for the American Society for Industrial Security -
International (ASIS).

Karim also provides forensic security consulting services to insurance companies and the legal
profession. In this work, Karim provides litigation support to attorney’s and serves as an expert
witness in security related lawsuits. As an Adjunct Professor at the University of Houston -
Downtown, Karim taught graduate courses in Security Management and Risk Analysis for the
College of Criminal Justice’s Security Management Program. He has also trained Police and
Security Officers in weapons and use of deadly force and profiling and assisted in the
development of maritime security training curriculum compliant with ISPS Code and the United
States Coast Guard under the Maritime Transportation Security Act. Karim instructs frequently
for the International Association of Professional Security Consultants and ASIS-International.

Karim is a member of the International Association of Professional Security Consultants (IAPSC),
ASIS-International, the American Society of Criminology (ASC), American Society of Evidence-
Based Policing (ASEBP), the International Association of Crime Analysts (IACA), the International
Association of Chiefs of Police (IACP), and the International Association for Healthcare Security &
Safety (IAHSS). In the past, Karim served as President of the IAPSC, Director for the IAHSS
Foundation and Chair of the Evidence-Based Research Committee. Currently, Karim serves on
the IAPSC Forensic Committee and chairs the IAPSC’s Evidence-Based Security Practices
Committee.

Current Employment
Threat Analysis Group, LLC
President & Independent Security Consultant

   ▪   Provide project management services for security deployment, training, engineering and
       design, and assessments

   ▪   Provide security management consulting services including risk assessment methodology
       development and execution, threat assessments and crime analysis, vulnerability
       assessments and security surveys

   ▪   Provide forensic security consulting

   ▪   Develop and maintain CrimeAnalysisTM services and software to determine threat level at
       client facilities

Past Employment
University of Houston – Downtown



                                                                                         Page 49
    Case 1:22-cv-01696-VMC           Document 95-1       Filed 04/29/24      Page 50 of 78
                                        Newton, et al. v. Wingate Management Company, LLC


Adjunct Professor

   ▪   Taught graduate courses in Security Management and Risk Analysis for the Security
       Management Master’s Program at the University’s College of Criminal Justice.

Texas One Security
Operations Manager

   ▪   Managed over one hundred security officers and approximately 1400 guard hours at
       seventeen (17) client sites

   ▪   Responsibilities included hiring and training, deployment and scheduling, and conducting
       performance evaluations for the company’s security force

   ▪   Ensured that the officer’s and the company complied with Texas Private Security Bureau
       rules and regulations.

Operational Support Services, Inc.
Law Enforcement Advisor/Security Consultant

   ▪   Provided security consulting services to police departments, private security companies,
       insurance companies, federal and state government agencies, and the legal profession

   ▪   Responsibilities included analyzing client’s risk by conducting threat and vulnerability
       assessments

North Harris College
Instructor

   ▪   Trained Police and Security Officers in firearms use

   ▪   Trained Security Officers on laws, including deadly force and profiling

Roehling Corporate International Investigations, Inc.
Private Investigator

   ▪   Provided investigative services to the legal profession, insurance companies, and private
       corporations

   ▪   Served on search team for Oklahoma escaped convict Randolph Franklin Dial




                                                                                      Page 50
    Case 1:22-cv-01696-VMC            Document 95-1        Filed 04/29/24    Page 51 of 78
                                         Newton, et al. v. Wingate Management Company, LLC


Certifications & Licenses
Board Certified Security Consultant (CSC)
International Association of Professional Security Consultants (IAPSC)

Board Certified in Security Management (CPP)
American Society for Industrial Security - International (ASIS)

Board Certified Protection Officer (CPO)
International Foundation for Protection Officers

Board Certified Police Firearms Instructor
National Rifle Association of America

Education & Training
Master of Science, Criminal Justice Management, Sam Houston State University, August 1998

Bachelor of Science, Criminal Justice (Specialization in Law Enforcement), Sam Houston State
University, August 1994

An Analyst’s Role in a Homicide Investigation, International Association of Crime Analysts

Certified Protection Officer Course, International Foundation for Protection Officers

Certified Protection Professional Course, American Society for Industrial Security – International

Concealed Handgun Instructor Course, Texas Department of Public Safety

Criminal Profiling in Crime Analysis, International Association of Crime Analysts

Gang Crimes, Montgomery County Sheriff’s Department

Identifying and Managing Risky Facilities, International Association of Professional Security
Consultants

Identifying Crime and Crash Patterns, Analyst Mastermind Series, International Association of
Directors of Law Enforcement

Instructors Course, Texas Commission on Law Enforcement Standards and Education

Introduction to Child Sex Trafficking, National Center for Missing and Exploited Children




                                                                                        Page 51
    Case 1:22-cv-01696-VMC            Document 95-1        Filed 04/29/24     Page 52 of 78
                                         Newton, et al. v. Wingate Management Company, LLC


Level One Training, Texas Private Security Bureau

Personal Protection and Home Safety Instructor, National Rifle Association of America

Pistol, Rifle and Shotgun Instructor, National Rifle Association of America

Police Firearms Instructor, National Rifle Association of America

Professional Affiliations
American Society of Criminology (ASC)

American Society of Evidence-Based Policing (ASEBP)

American Society for Industrial Security - International (ASIS)

Federal Bureau of Investigation (FBI) Infragard

International Association of Chiefs of Police (IACP)

International Association of Crime Analysts (IACA)

International Association for Healthcare Security & Safety (IAHSS)

International Association of Professional Security Consultants (IAPSC)

Accomplishments
Chair, Evidence-Based Security Practices Committee, 2022 - Present
International Association of Professional Security Consultants (IAPSC)

Member, Forensic Security Committee, 2004 – Present
International Association of Professional Security Consultants (IAPSC)

Chair, Evidence Based Research Committee, 2015 - 2020
International Association of Healthcare Security and Safety Foundation

Member, Board of Directors, 2013 – 2020
International Healthcare Security and Safety Foundation

Member, Use of Force Best Practice Committee, 2019 – 2020
International Association of Professional Security Consultants (IAPSC)




                                                                                        Page 52
    Case 1:22-cv-01696-VMC           Document 95-1        Filed 04/29/24     Page 53 of 78
                                        Newton, et al. v. Wingate Management Company, LLC


Technical Committee Member, Enterprise Security Risk Management (ESRM) Guideline, 2019 -
2020
American Society for Industrial Security - International (ASIS)

Technical Committee Member, Private Security Officer Selection and Training Guideline, 2017 -
2018
American Society for Industrial Security - International (ASIS)

Member, Security Metrics/Data Task Force, 2016-2019
International Association of Healthcare Security and Safety

Technical Committee Member, Private Security Officer (ANSI Standard), 2015 - 2017
American Society for Industrial Security - International (ASIS)

Member, Board of Directors, 2011 - 2015
International Association of Professional Security Consultants (IAPSC)

Technical Committee Member, Risk Assessment (ANSI Standard), 2013 - 2016
American Society for Industrial Security - International (ASIS)

Chairman, Council on Advocacy, 2011 - 2012
International Association for Healthcare Security & Safety (IAHSS)

Advisory Member, Security Lighting for People, Property, and Critical Infrastructure Guideline (G-
1-16), 2011 – 2017
Illuminating Engineering Society of North America (IESNA)

Technical Committee Member, Private Security Company (ANSI Standard), 2012 - 2013
Maturity Model for the Phased Implementation of a Quality Assurance Management System for
Private Security Service Providers (PSC.3) Standard
American Society for Industrial Security - International (ASIS)

Technical Committee Member, Private Security Company (ANSI Standard), 2011 - 2012
Conformity Assessment and Auditing Management System for Quality of Private Security
Company Operations (PSC.2) Standard
American Society for Industrial Security - International (ASIS)

Technical Committee Member, Private Security Company (ANSI Standard), 2011 – 2012
Management System for Quality of Private Security Company Operations (PSC.1)
American Society for Industrial Security - International (ASIS)




                                                                                        Page 53
    Case 1:22-cv-01696-VMC            Document 95-1        Filed 04/29/24    Page 54 of 78
                                         Newton, et al. v. Wingate Management Company, LLC


Technical Committee Member, Physical Asset Protection (ANSI Standard), 2011 - 2012
American Society for Industrial Security - International (ASIS)

Immediate Past President, 2009 - 2011
International Association of Professional Security Consultants (IAPSC)

President, 2008 - 2009
International Association of Professional Security Consultants (IAPSC)

Vice President, 2007 - 2008
International Association of Professional Security Consultants (IAPSC)

Secretary, 2006 - 2007
International Association of Professional Security Consultants (IAPSC)

Member, Board of Directors, 2004 - 2006
International Association of Professional Security Consultants (IAPSC)

Chairman, Professional Certification Committee, 2004 - 2006
International Association of Professional Security Consultants (IAPSC)

Member, Private Security Services Council, 2005 – 2006
American Society for Industrial Security - International (ASIS)

Chairman, Certifications Committee, 2004 - 2006
American Society for Industrial Security - International (ASIS) - Houston Chapter

Chairman, By-Laws Committee, 2004
International Association of Professional Security Consultants (IAPSC)

Chairman, Certified Protection Professional Committee, 2002 - 2003
American Society for Industrial Security - International (ASIS) - Houston Chapter

Committee Member, Publications Committee, 2001 - 2002
International Association of Crime Analysts (IACA)

Publications & Presentations
Vellani, Karim H. (2023). “Transitioning to Evidence-Based Security Practices.” ASIS -
International. Houston, TX, November 8, 2023.




                                                                                      Page 54
     Case 1:22-cv-01696-VMC           Document 95-1         Filed 04/29/24      Page 55 of 78
                                          Newton, et al. v. Wingate Management Company, LLC


Vellani, Karim H. (2023). “Using Evidence-Based Research to Understand and Prevent Crime.”
Evidence-Based Security Practices Committee, International Association of Professional Security
Consultants, January 24, 2023.

Army, Christine, & Vellani, Karim H. (2023). Risky Behaviors and Violent Victimization (EBSP-23-
01). Evidence-Based Security Practices, International Association of Professional Security
Consultants.

Vellani, Karim H. (2022). “Using Evidence-Based Research to Understand and Prevent Crime.”
37th Annual Conference, International Association of Professional Security Consultants, Denver,
CO, June 14, 2022.

Vellani, Karim H. (2022). “Assessing Crime Risk.” Fundamentals in Forensic Security Consulting,
International Association of Professional Security Consultants, Denver, CO, June 13, 2022.

Vellani, Karim H., & Kristof, Tina S. (2022). “Security’s Critical Role in Combating Sex Trafficking.”
Journal of Healthcare Protection Management, Volume 76, Number 1, International Association
for Healthcare Security & Safety.

Vellani, Karim H. (2021). Unraveled: An Evidence-Based Approach to Understanding and
Preventing Crime. Sugar Land, TX: Threat Analysis Group, LLC.

Vellani, Karim H. (2021). “Mitigating Security Risks with Evidence-Based Research.” Hospital
Association of Southern California, November 3, 2021.

Army, Christine, & Vellani, Karim H. (2021). Violent Crime Typology and Continuum. CrimRxiv.
https://doi.org/10.21428/cb6ab371.71ec923d

Vellani, Karim H., & Kristof, Tina S. (2021). Identifying and Responding to Sex Trafficking Victims
in Healthcare Environments. CrimRxiv. https://doi.org/10.21428/cb6ab371.84ddfc71

Vellani, Karim H. and Tina S. Kristof (2021). “Results of the 2020 Healthcare Crime Survey.”
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    Case 1:22-cv-01696-VMC           Document 95-1        Filed 04/29/24     Page 56 of 78
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    Case 1:22-cv-01696-VMC           Document 95-1       Filed 04/29/24     Page 57 of 78
                                        Newton, et al. v. Wingate Management Company, LLC


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                                                                                       Page 57
    Case 1:22-cv-01696-VMC           Document 95-1       Filed 04/29/24     Page 58 of 78
                                        Newton, et al. v. Wingate Management Company, LLC


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                                                                                       Page 58
    Case 1:22-cv-01696-VMC           Document 95-1        Filed 04/29/24      Page 59 of 78
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    Case 1:22-cv-01696-VMC           Document 95-1        Filed 04/29/24     Page 60 of 78
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                                                                                        Page 60
    Case 1:22-cv-01696-VMC            Document 95-1        Filed 04/29/24      Page 61 of 78
                                         Newton, et al. v. Wingate Management Company, LLC


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                                                                                          Page 61
     Case 1:22-cv-01696-VMC           Document 95-1        Filed 04/29/24      Page 62 of 78
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                                                                                           Page 62
   Case 1:22-cv-01696-VMC   Document 95-1   Filed 04/29/24   Page 63 of 78
                              Newton, et al. v. Wingate Management Company, LLC


APPENDIX B: Forensic Methodology




                                                                      Page 63
   Case 1:22-cv-01696-VMC       Document 95-1     Filed 04/29/24    Page 64 of 78




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      Case 1:22-cv-01696-VMC                      Document 95-1              Filed 04/29/24            Page 65 of 78
                                                                                                              FORENSIC METHODOLOGY




TABLE OF CONTENTS

POSITION STATEMENT ........................................................................................................... 3
EVIDENCE REVIEW— THE PROCESS ........................................................................................ 4
RISK ASSESSMENT ................................................................................................................. 5
THREAT ASSESSMENT ............................................................................................................ 5
VULNERABILITY ASSESSMENT/ SECURITY SURVEY .................................................................. 6
ANALYSIS AND OPINIONS ...................................................................................................... 8




                                                                                                   LC
BIBLIOGRAPHY/REFERENCES ................................................................................................. 9




                                                                                              ,L
                                                                                            ny
FORENSIC SECURITY COMMITTEE MEMBERS........................................................................ 12




                                                                                        pa
NON-MEMBER CONTRIBUTORS ........................................................................................... 12




                                                                                    om
                                                                               tC
CASES CITING METHODOLOGY ............................................................................................. 13
                                                                            en
DOCUMENT REVISION HISTORY ........................................................................................... 14
                                                                     em

ABOUT THE IAPSC ................................................................................................................ 15
                                                                   ag
                                                               an
                                                            M
                                                         te
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                                                                                                             Rev. 9/27/2023
    Case 1:22-cv-01696-VMC            Document 95-1        Filed 04/29/24      Page 66 of 78
                                                                                    FORENSIC METHODOLOGY


The International Association of Professional Security Consultants has issued this consensus-
based and peer-reviewed Best Practice for the guidance of and voluntary use by businesses
and individuals who deal or may deal with the issues addressed in the context of third-party
premises security litigation, and other security-related cases where the methodology would be
helpful.


POSITION STATEMENT

The International Association of Professional Security Consultants does hereby recognize that its
members will be called upon to perform as “Forensic Consultants” and serve as Expert Witnesses
in a court of law or other legal proceeding. The purpose of these guidelines is to meet the need
for a standardized methodology used in the evaluation of premises security cases.




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It is recognized that the task of the Forensic Consultant is one of education. Forensic Consultants




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will provide their opinion(s) to the client, to opposing counsel during deposition, in response to




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written interrogatories, in reports, and to the judge and jury at trial or any other lawfully



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convened hearing. This is done with the goal of making others aware of the security issues and
contributing to a just and proper conclusion on the litigation.
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The responsibility of the Forensic Consultant lies within our system of justice and the ethics of
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the security profession. The opinions so offered are made as an objective expert
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witness/consultant, without any financial or other interest in the outcome of the litigation.
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Forensic Consultants will, at all times, be forthright, honest, and precise in evolving the ultimate
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conclusion(s) and opinion(s). The opinion(s) will be the result of a review of all available,
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applicable documentation and discovery material presented by all parties to the litigation. Site
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inspections and analytical procedures generally followed by the Forensic Consultant are
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described in these guidelines.
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The following methodology is to be used in atypical premises security case, including crimes
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committed by employees; workplace violence; negligent hiring, supervision and retention;
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negligent training; use of force; invasion of privacy; wrongful arrest and/or imprisonment;
wrongful prosecution; and other security-related cases.

The Forensic Consultant is expected to exercise diligence in requesting and/or obtaining
information that the Consultant reasonably believes is relevant to the facts and circumstances of
the case.

It is reasonable to expect variations of the steps, with some steps deleted and others added as the
facts and circumstances of the case being analyzed warrant.




                                                                                           Page 3
                                                                                   Rev. 9/27/2023
     Case 1:22-cv-01696-VMC           Document 95-1        Filed 04/29/24      Page 67 of 78
                                                                                    FORENSIC METHODOLOGY


EVIDENCE REVIEW— THE PROCESS

In the context of this Guideline, the Forensic Consultant will review and analyze various
information, whether produced during the discovery process of the litigation or otherwise
obtained through research, common knowledge, investigation, and/or the consultant/expert’s
experience which allows the Consultant to identify factors leading to an understanding of the
crime risks present at the time of the criminal event.

Types of evidence generally available to the Forensic Consultant may include, if relevant, to the
following:

1. Complaint/Petition and Pleadings




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2. Police Report of the subject incident




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3. Site and Immediate Vicinity Crime History, including police and security incident reports




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4. Interrogatories and Responses


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5. Requests for Production of Documents and Responses, discovery motions
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6. Requests for Admissions and Responses
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7. Affidavits, Witness Statements, and Interviews
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8. Depositions with exhibits
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9. Expert Witness Reports and depositions
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10. Applicable Medical Records Relating to the Facts of the Incident
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11. Photographs, Video and Audio Recordings, etc.
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12. Other Related Evidence (e.g., prosecutors file, if available, criminal trial transcript, employee
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    HR files, etc.)

13. Site Plans

14. Applicable standards, codes, and regulations

15. Publications related to the standard of care

16. Lighting plans/diagrams

17. Relevant policies and procedures

18. Security staffing, plans, manuals, post orders and schedules
                                                                                            Page 4
                                                                                    Rev. 9/27/2023
     Case 1:22-cv-01696-VMC              Document 95-1          Filed 04/29/24       Page 68 of 78
                                                                                          FORENSIC METHODOLOGY


19. Security services contracts in effect on date of loss

20. Agreements with other security service providers (e.g., off-duty police officers)

21. Background search results of employees/workers


RISK ASSESSMENT

A risk assessment is the general process of identifying relevant risks, given the facts of the case.
It is a qualitative, quantitative, or hybrid assessment that seeks to determine the likelihood that
criminals could successfully exploit a vulnerability or compromise a security countermeasure.




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There are two main components to a risk assessment: a threat assessment and a vulnerability




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assessment. The threat assessment is an evaluation of the various sources for crime threats. The




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vulnerability assessment includes an evaluation of the physical aspects of the facility and an




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analysis of the overall security program as it relates to the specific facts of the case.




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The security survey, along with documented evidence, is the means by which security measures
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utilized and/or available at the facility at the time of the incident that is the subject of the
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litigation are identified and analyzed.
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A risk assessment provides the foundation for effectively determining the adequacy of
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countermeasures employed.
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THREAT ASSESSMENT
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A threat assessment is an evaluation of events that can adversely affect operations and/or
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specific assets. Historical information is a primary source for threat assessments, including past
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criminal and terrorist events. A threat assessment considers actual and inherent threats.
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1. Actual Threats - The crime history at the subject property based on data reflecting actual
   crime data.1 Actual threats are a quantitative element of a threat assessment. When
   assessing actual threats, the following may be considered as deemed relevant by the security

1
  Depending on the police jurisdiction that serves the subject property, different types of crime records
may be available. The most common type of crime record used in a crime risk analysis is Calls for Service
or dispatch logs. It is important to note that Calls for Service or dispatch log accuracy varies by
jurisdiction. Further, changes to incident management and dispatch systems may also impact accuracy
even within the same jurisdiction. When assessing relevant crimes, Calls for Service and dispatch logs
should not be used alone. Offense/Incident Reports are necessary to validate the Calls for Service or
dispatch logs, specifically the crime type, crime location, and whether a crime actually occurred. Calls for
service or dispatch logs alone, in many jurisdictions, are insufficient for these three elements.


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                                                                                          Rev. 9/27/2023
     Case 1:22-cv-01696-VMC            Document 95-1         Filed 04/29/24      Page 69 of 78
                                                                                      FORENSIC METHODOLOGY


    expert:

    a. Relevant crimes on the subject property for a three to five-year period prior to the date
       of the incident.

    b. Relevant crimes in the immediate vicinity of the subject property for a three to five-year
       period prior to the date of the incident. [Note: There is no single definition of what
       constitutes an “immediate vicinity” or “neighborhood” around a given property. Often
       what is available for evaluation from a law enforcement agency depends upon that
       agency’s software programming and/or staff capabilities (e.g., the agency can only
       provide data for a set size of an area, such as a quarter mile radius).] 2

    c. The expert may consider the relationship between offenders and victims (e.g.




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       interpersonal, domestic, targeted, etc.).




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2. Inherent Threats –The crime risk at the subject property as determined by the expert based




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   on the property’s characteristics, the expert’s research and/or experience in similar




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   environments, information gathered through the discovery process, and/or a site inspection


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VULNERABILITY ASSESSMENT/ SECURITY SURVEY
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The vulnerability assessment is an analysis of security weaknesses and opportunities for criminal
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activity. A security survey is a method for collecting information used in the vulnerability
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assessment.
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A security survey may include a physical survey of the scene of the incident and areas/functions
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that are applicable to the incident to achieve an understanding of information that has potential
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application to the matter in litigation.
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The following areas of review are not meant to be all inclusive, nor all exclusive. The decision to
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review the material is at the judgment/discretion of the expert.

1. Incident Review

    a. Police incident and investigation report(s)

    b. Security incident report(s)

    c. Medical records (emergency room and/or autopsy as it relates to information about the

2
 The IAPSC recognizes that criminology studies and related research have generally found that crime in
the area may not be relevant to the subject property.
                                                                                              Page 6
                                                                                      Rev. 9/27/2023
     Case 1:22-cv-01696-VMC           Document 95-1        Filed 04/29/24      Page 70 of 78
                                                                                    FORENSIC METHODOLOGY


       occurrence of the incident)

   d. Other sources of information about how the incident occurred (e.g., witness statements
      testimony, etc.)

2. Site Inspection - Inspect site where the incident occurred and the surrounding area, if
   relevant. (Note: Not all cases will require site inspections, nor is it always possible to conduct
   site views—e.g., if the site has been altered substantially or no longer exists.) Further, the
   facts of some cases and potential liability issues are not related to the site/property layout,
   design, or other physical attributes. As such, a site inspection may be unnecessary.

   a. Determine layout of the premises




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   b. Evaluate relevant factors (lighting, lines of sight, places of concealment, remoteness,




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      accessibility, security measures, conditions, etc.)




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   c. Review relevant documentation (lease, contract, diagram, map, etc.)




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   d. Assess the characteristics of the surrounding area and what impact, if any, those
      characteristics may have had on the subject property
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3. Security Personnel
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   a. Review security officer(s) (including off- duty law enforcement officers) actions, staffing
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      levels, post orders, duty hours, equipment provided, tours, evaluations, training, hiring
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      procedures and supervision
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   b. Review law enforcement presence and actions (e.g., on-duty, police details, etc.)
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   c. Review roles and actions of non-security related persons who may have participated in
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      the security program and/or incident
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   d. Assess the qualifications and performance of owner/management personnel overseeing
      the security program

4. Security Management Program

   a. Review management and security related policies, procedures, and practices

   b. Review any risk assessments performed prior to the date of the incident

   c. Review daily activity reports, job descriptions, incident reports and internal
      correspondence


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                                                                                    Rev. 9/27/2023
    Case 1:22-cv-01696-VMC            Document 95-1        Filed 04/29/24      Page 71 of 78
                                                                                    FORENSIC METHODOLOGY


   d. Review security services contract

   e. Review training manuals and materials

   f. Review depositions regarding employees’ understanding of their duties, and all customs
      and undocumented practices

   g. Evaluate the qualifications, training, and experience of security management and
      supervisory personnel

5. Security Equipment

   a. Review building design and site plans




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   b. Inspect all security devices related to the incident




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   c. Inspect structural security features related to the incident




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   d. Determine the position, function and maintenance status of the relevant security
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      equipment and features in place at the time of the incident
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   e. Determine levels of illumination, if relevant
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ANALYSIS AND OPINIONS
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The security expert will determine the level of adequacy of security at the location of the incident
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on the date and at the time the incident occurred. This will be based on the information obtained
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in the previous steps, and the application of a qualitative analysis based on the experience,
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education, and training of the expert.
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Based upon the analysis, the expert will reach conclusions on the issues of risk analysis,
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preventability, and the adequacy of the security program at the subject property. At this point
the expert has formed opinions and is prepared to provide a written report, be deposed, and/or
testify at trial. Those opinions will state the detailed basis for the findings, including evidence,
standards, best practices, and guidelines, where applicable.




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                                                                                   Rev. 9/27/2023
    Case 1:22-cv-01696-VMC            Document 95-1        Filed 04/29/24      Page 72 of 78
                                                                                    FORENSIC METHODOLOGY


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recognized and has been adopted nationwide by private industry, public law enforcement,
municipalities, and other governmental agencies. The following published sources reference the
process used to perform a crime risk analysis. This is not all-inclusive, but a representative
sampling of available references.

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                                                                              Rev. 9/27/2023
     Case 1:22-cv-01696-VMC           Document 95-1      Filed 04/29/24    Page 75 of 78
                                                                               FORENSIC METHODOLOGY


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                                                                               Rev. 9/27/2023
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                                                                               FORENSIC METHODOLOGY


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Case citations are added as cases come to the attention of the IAPSC Forensic Security
Committee. Other cases may exist which address the Forensic Methodology.
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                                                                               Rev. 9/27/2023
    Case 1:22-cv-01696-VMC           Document 95-1        Filed 04/29/24      Page 77 of 78
                                                                                   FORENSIC METHODOLOGY


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Revised: April 28, 2014 with approval of IAPSC Forensic Security Committee – addition of




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language to Actual Crime section: “Relevant crimes in the immediate vicinity of the facility (three




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to five years prior to the date of the incident) as defined by and deemed relevant by the security




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Revised: January 19, 2018 with approval by the Board of Directors.
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Revised: December 2, 2020 by Forensic Security Committee – clarification of “security-related”
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cases covered by the Methodology and types of evidence available to the Forensic Consultant.
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Updated list of committee members.
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Revised: September 25, 2023 by Forensic Security Committee – added cases citing methodology
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and references, revised formatting. Updated list of committee members.
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                                                                                   Rev. 9/27/2023
    Case 1:22-cv-01696-VMC          Document 95-1       Filed 04/29/24     Page 78 of 78
                                                                                FORENSIC METHODOLOGY


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Founded in 1984, the International Association of Professional Security Consultants (IAPSC) is a
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code for professionalism and ethical conduct. For more information, to find an IAPSC security
consultant, or to become a member of the association, visit www.iapsc.org.




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                                                                                Rev. 9/27/2023
